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                                                                                             4/26/2021 1:18 PM
                                                                                    Christopher G. Scott, Clerk
                                                                                                   Civil Division
                         IN THE STATE COURT OF FULTON COUNTY
                                   STATE OF GEORGIA

LYNDEN HEPBURN, and
RHONDA HEPBURN,

        Plaintiffs,                                          CIVIL ACTION

v.                                                           FILE NO. _______________

HORIZON MIDWEST INC,
HORIZON FREIGHT SYSTEM INC,
QUINCY BERNARD HARVILL, and
OLD REPUBLIC INSURANCE COMPANY,

      Defendants.
____________________________________________________________________________

               PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR
                PRODUCTION OF DOCUMENTS, AND FIRST REQUEST FOR
                  ADMISSIONS TO DEFENDANT HORIZON MIDWEST INC

        COME NOW, LYNDEN HEPBURN and RHONDA HEPBURN (“Plaintiffs”), by and

through their counsel of record and pursuant to O.C.G.A. §§ 9-11-33, 9-11-34, and 9-11-36,

hereby propound the following Interrogatories, Request for Production of Documents, and

Request for Admissions to Defendant Trucking Company Horizon Midwest Inc (“Horizon

Midwest”) for response under oath pursuant to Rule 33, Rule 34, and Rule 36 of the Georgia

Civil Practice Act and as required by law.

                                          DEFINITIONS

        As used herein, the terms listed below are defined as follows:

     1. The term "Document" as used herein shall be given a very broad definition to include

every type of paper, writing, data, record, graphic, drawing, photograph, audio recording and

video recording. The term includes material in all forms, including printed, written, recorded, or

other. The term includes all files, records and data contained in any computer system,

computer component and/or computer storage (e.g., hard drive, disc, magnetic tape, backup

system, etc.). This term includes, but is not limited to, correspondence, reports, meeting

minutes, memoranda, stenographic or handwritten notes, diaries, notebooks, account books,

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orders, invoices, statements, bills, checks, vouchers, purchase orders, studies, surveys, charts,

maps, analyses, publications, books, pamphlets, periodicals, catalogues, brochures, schedules,

circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-mail attachments, data

sheets, work sheets, statistical compilations, data processing cards, microfilms, computer

records (including printouts, disks or other magnetic storage media), tapes, photographs

(positive or negative prints), drawings, films, videotapes, hard drive recordings, pictures, and

voice recordings. Plaintiff expressly intends for the term "Document" to include every copy of

such writing, etc. when such copy contains any commentary or notation whatsoever that does

not appear on the original and any attachments or exhibits to the requested document or any

other documents referred to in the requested document or incorporated by reference.

   2. "Person" means any natural person, corporation, partnership, proprietorship,

association, organization, group of persons, or any governmental body or subdivision thereof.

   3.   (a)    "Identify" with respect to any "person" or any reference to stating the "identity"

of any "person" means to provide the name, home address, telephone number, business name,

business address, and business telephone number of such person, and a description of each

such person's connection with the events in question.

        (b)    "Identify" with respect to any "document" or any reference to stating the

"identification" of any "document" means to provide the title and date of each such document,

the name and address of the party or parties responsible for the preparation of each such

document, the name and address of the party who requested or required the preparation of the

document or on whose behalf it was prepared, the name and address of the recipient or

recipients of each such document, and the names and addresses of any and all persons who

have custody or control of each such document, or copies thereof.

   4. “Similar” shall have the meaning given in the American Heritage Dictionary, which is

"showing some resemblance; related in appearance or nature; alike but not identical." As used

here, the word "similar" shall not be limited as if modified by the word "substantially" and shall

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not mean "the same". If you limit the information provided because you use another

interpretation of the word "similar," please state the interpretation you are using and reveal the

nature of the information withheld.

    5.    The terms “and” as well as “or” shall be each construed conjunctively and disjunctively

as necessary to bring within the scope of each interrogatory and request for documents all

information and documents that might otherwise be construed to be outside its scope. The term

“and/or” shall be construed likewise.

    6.    Whenever necessary to bring within the scope of an interrogatory or request for

production of documents any information or document that might otherwise be construed to be

outside its scope: (i) the use of a verb in any tense shall be construed as the use of the verb in

all other tenses; (ii) the use of the singular shall be construed as the use of the plural and vice

versa; and (iii) “any” includes “all,” and “all” includes “any.”

    7.    With regard to any term used herein that is deemed by the responding party as being

ambiguous or vague, a term shall be construed in its broadest sense to encompass all

reasonable definitions of that term.

    8. "Subject Collision" means the collision described in the Complaint.

    9. “You”, “Your”, or “Horizon Midwest” means Defendant HORIZON MIDWEST INC.

    10. “Harvill” means Defendant Driver QUINCY BERNARD HARVILL.

                                          INTERROGATORIES

                                                         1.

         If you contend that Plaintiffs have sued the wrong party or that your name is incorrectly

stated in this lawsuit, please explain the basis for your contention and identify the correct legal

entity for the correct party in interest to this suit.

                                                         2.

         Identify each person Horizon Midwest expects to call as an expert witness at trial

including in your response a summary of each opinion the expert holds in regards to this case,

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the factual basis for each such opinion, a list of all documents and evidence of any kind

provided to the expert for review and a list of all documents and evidence of any kind that

support each opinion.

                                            INSURANCE

                                                  3.

       For each liability insurance policy that you had in place at the time of the Subject

Collision, state the name of insurer; the policy number; the limits of coverage; the name(s) of all

insureds; and whether any insurer has offered a defense under a reservation of rights or

otherwise contested coverage for the subject case. Please note that this interrogatory is

requesting information relating to ALL insurance coverage including excess coverage.

                                       VEHICLE INFO/DATA

                                                  4.

       Please provide the weight of the tractor-trailer at the time of the Subject Collision.

                                                  5.

   a. Identify all systems and devices in or on the tractor-trailer that have the capability of

       monitoring, capturing, recording and/or transmitting any video, data and/or

       communications of any kind (this includes, without limitation, any engine control module

       (ECM), event data recorder (EDR/CDR), airbag control module (ACM), Sensing

       Diagnostic Module (SDM), drive train or transmission control unit, brake control module,

       power steering unit, electronic onboard recorder (EOBR) Electronic Logging Device

       (ELD), Collision Avoidance System (CAS), Telematics system, Critical Event Reporting

       System, Lane Departure System, Dash Cam (or other video devices), GPS system,

       truck or trailer tracking system, system that allows communication between drivers and

       dispatchers, etc.);

   b. With respect to each system identified, explain what video, data and/or communications

       the system is capable of monitoring, capturing, recording and/or transmitting;

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   c. With respect to each system identified, explain what video, data and/or communications

       have been downloaded and/or preserved in connection with the Subject Collision and if

       so when and by whom; and

   d. With respect to each system identified, explain what video, data and/or communications

       have NOT been downloaded and/or preserved in connection with the Subject Collision

       and explain why not and whether it is still possible to obtain this material.

                                       DRIVER INFORMATION

                                                   6.

       Explain the relationship between Horizon Midwest and Defendant Driver Quincy Bernard

Harvill (“Harvill”) at the time of the Subject Collision including his employment status (e.g.,

leased driver, company driver, etc.), how he was compensated for driving (e.g., by the hour, by

the load, by the mile, salary, or other) and when the relationship began and ended.

                                                   7.

       If you maintain that Harvill was not acting within the course and scope of his employment

or agency at the time of the Subject Collision, explain the basis for your contention and identify

documents and witnesses that support your contention.

                                                   8.

       Identify and explain all communications of any kind between Harvill and anyone acting

for or on behalf of Horizon Midwest during the twenty-four (24) hours before and after the

Subject Collision. For each communication, identify the method of communication (cell phone,

QualComm, other), time of communication, persons involved, and the general subject.

                                    REGULATIONS AND POLICIES

                                                   9.

       Identify all Horizon Midwest policies, procedures, rules, guidelines, directives, manuals,

handbooks and instructions that were in effect for Harvill at the time of the Subject Collision.



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                                                   10.

       Identify all Horizon Midwest policies, procedures, rules, guidelines, directives, manuals,

handbooks and instructions and training applicable to Harvill regarding driving, defensive

driving, turning, intersections, driver distraction and use of cell phones.

                               INVESTIGATION OF SUBJECT COLLISION

                                                   11.

       Describe in detail when and how you first became aware that Harvill was involved in the

Subject Collision including in your answer the identity of all persons involved in the investigation

of the Subject Collision, their role and position and what information was conveyed.

                                                   12.

       State whether you maintain that either Plaintiffs or any non-party has any responsibility

of any kind for causing the injuries and/or damages alleged in the Complaint and provide a

detailed description of the basis for your position, including the identity of all person(s) who have

any knowledge regarding this issue and/or all documents evidencing your position.

                                                   13.

       Identify all persons who to your knowledge were present at the scene of the Subject

Collision at any time in the forty-eight (48) hours after the Subject Collision and explain their

role, why they were at the scene and what actions they took.

                                                   14.

       Identify all person(s) who you to your knowledge have or may have any relevant

information regarding: the Subject Collision; the facts leading up to the Subject Collision; the

investigation of the Subject Collision; any party to this action; any vehicles involved in the

Subject Collision; and/or any claims or defenses raised in this action. The purpose of this

Interrogatory is to identify all witnesses whom Horizon Midwest believes may have relevant

testimony of any kind in connection with this case.



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                                                   15.

       Identify all photographs, motion pictures, maps, plats, drawings, diagrams, videotapes,

or other tangible or documentary evidence depicting the scene of the Subject Collision and/or

any person or vehicle involved in the Subject Collision.

                                                   16.

       Did Horizon Midwest make any effort to perform any accident review, any avoidable/non-

avoidable accident determination, any root cause analysis, any DOT reportability determination,

or any type of investigation or analysis to discover the cause(s) or contributing cause(s) of the

Subject Collision and/or to evaluate whether your driver should be disciplined for any action or

inactions related to the Subject Collision? If so, please identify all person(s) involved, all

documents and information reviewed, and all determinations.

                                          MISCELLANEOUS

                                                   17.

       Identify each person who was involved in responding to each of the Requests for

Admissions served upon you in this civil action.

                                                   18.

       For each of Plaintiffs’ First Request for Admissions to Defendant Horizon Midwest Inc

that you did not admit without qualification, explain in detail the reason for your refusal to admit

and identify all persons and documents that support your response.




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                                          DOCUMENT REQUESTS

                                                 GENERAL

REQUEST NO. 1:          A copy of each document utilized by you in any way in responding to

Plaintiffs’ First Interrogatories to Defendant Horizon Midwest Inc.

REQUEST NO. 2:          A copy of each document retention policy in effect for Horizon Midwest at

any time between the time of the Subject Incident and present.

REQUEST NO. 3:          A copy of each insurance policy (and declarations page for each policy)

that provides or may provide coverage for damages sustained in the Subject Incident.

REQUEST NO. 4:          Copies of all reservation of rights letters and/or agreements regarding

insurance coverage for the Subject Incident.

                                                DRIVER

REQUEST NO. 5:          All documents setting forth the relationship between Harvill and Horizon

Midwest. This includes, but is not limited to, all leases, employment contracts, and independent

contractor agreements and other contracts, agreements, memorandum, and the like.

REQUEST NO. 6:          The contents of Harvill’s driver qualification file, driver investigation file,

driver history file, and all documents that demonstrate compliance with federal and state driver

qualification laws and regulations. The requested documents include, but are not limited to, all

documents required by FMCSR, 49 CFR Part 391, and the state equivalent thereto. If any

responsive documents have been removed from the driver qualification file, these should be

produced nonetheless.

REQUEST NO. 7:          All documents of any kind that relate to any pre-employment background

investigation of Harvill, including without limitation any investigation of Harvill’s qualifications,

character, driving history, training, criminal history, drug use, financial responsibility, medical

conditions, health conditions, and/or any other matter relevant to employment with Horizon

Midwest. This specifically includes all data and information obtained through FMCSA’s Pre-

Employment Screening Program.

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REQUEST NO. 8:         All documents that relate in any way to your recruiting of Harvill.

REQUEST NO. 9:         All documents that relate in any way to you hiring Harvill.

REQUEST NO. 10:        All documents that relate in any way to any orientation provided by

Horizon Midwest to Harvill.

REQUEST NO. 11:        All documents that relate in any way to training of Harvill. This includes,

but is not limited to, all documents that show all training received by Harvill, when, where, and

who provided the training, and all materials used for training.

REQUEST NO. 12:        All quizzes, tests, and/or other assessments (questions and answers)

ever given by or on behalf of Horizon Midwest to Harvill at any time. An answer key should also

be provided.

REQUEST NO. 13:        Copies of all documents (a) explaining how Harvill was compensated for

the one (1) month leading up to and including the date of the Subject Incident and extending

one (1) week after the date of the Subject Incident; and (b) showing any detention of wages

over the same time-period.

REQUEST NO. 14:        A copy of the front and back of every driver’s license issued to Harvill

(regardless of name used) in your possession, custody, and/or control.

REQUEST NO. 15:        All documents placing you on notice of any violation by Harvill of any law,

ordinance, or regulation. This includes, but is not limited to, reports of violations pursuant to

Section 391.27(a) of the Federal Motor Carrier Safety Regulations, as well as copies of

citations, warnings, and inspection reports.

REQUEST NO. 16:        All documents relating to any and all blood, urine, hair, or other type of

drug or alcohol testing of Harvill in your possession, custody, and/or control.

REQUEST NO. 17:        A copy of all documents relating to any violation of any safety rule or

principle by Harvill at any time.

REQUEST NO. 18:        All documents of any kind that relate to any action (formal or informal) by

any supervisor or manager or anyone working by or on behalf of Horizon Midwest directed to

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Harvill for the purpose of teaching, counseling, disciplining, correcting, or otherwise managing

Harvill in any way relating to the safe operation of a commercial vehicle. This includes, but is not

limited to, all disciplinary actions and the contents of all disciplinary folders or files of any kind by

whatever name called.

REQUEST NO. 19:         A copy of all documents in your possession relating in any way to any

motor vehicle collision and/or accident of any kind in which Harvill has been involved.

REQUEST NO. 20:         Copies of all documents relating to any complaint, criticism, or concern

raised by any person or entity regarding the driving performance and/or safety of Harvill. This

should include, but is not limited to, customer complaints and call-ins by motorists either to

company directly or to any service (i.e., How’s My Driving? Call 800…).

REQUEST NO. 21:         For each communication device (e.g., cell phones, PDAs, smartphones,

texting, and e-mailing devices, etc.) that was in the tractor that Harvill was operating at the time

of the Subject Incident, produce all documents reflecting usage and billing for the time-period

beginning forty-eight (48) hours before the Subject Incident and ending forty-eight (48) hours

after the Subject Incident. This includes all devices, whether owned by Harvill or not, and

whether it was in use at the time of the Subject Incident or not.

REQUEST NO. 22:         Copies of all documents prepared by Harvill that describes the Subject

Incident or the circumstances leading up to the Subject Incident.

REQUEST NO. 23:         All documents evidencing any evaluation of the driving abilities, safety,

and/or performance of Harvill that have not been produced in response to the preceding

requests.

REQUEST NO. 24:         A complete copy of the contents of each and every file (whether

maintained physically or electronically), regardless of what the file is called, regarding or

addressing Harvill in any way, that has not been produced in response to other requests above.




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                             HOURS OF SERVICE-RELATED DOCUMENTS

REQUEST NO. 25:         A copy of all Harvill’s hours of service logs and any other driving logs

and/or time sheets for the period beginning one hundred eighty (180) days before the Subject

Incident and ending seven (7) days following the Subject Incident.

REQUEST NO. 26:         In addition to the documents responsive to the preceding request,

produce all documents in your possession, custody, or control that demonstrate what Harvill

was doing for the time-period beginning fourteen (14) days before the Subject Incident and

ending two (2) days following the Subject Incident. The requested documents include all

documents that a motor carrier division officer might use to audit the logs of this driver,

including, but not but are not limited to:

       a.       All documents evidencing hours of service not produced above (e.g., daily logs

       and time sheets as well as log audits and letters regarding hours of service);

       b.       All documents that could be used to check the accuracy of Hours of Service-logs

       and/or time sheets;

       c.       All documents related to trips (including driver’s trip envelopes, trip reports, work

       reports, bills of lading, manifests, cargo documents of any kind, load documents of any

       kind, loading and unloading records of any kind, load detention records of any kind,

       freight bills, pick-up and delivery records of any kind, directions (e.g., routes to take),

       instructions (delivery notes, times, special handling), driver's trip check and settlement

       sheets, dispatch records, mileage reports, weight and scale records, and receipts for

       fuel, food, tolls, lodging, permits, repairs, and/or other purchases and expenses of any

       kind whether reimbursable or not, final trip accounting documents and printouts, as well

       as any and all reports and/or summaries of any kind referencing the above information);

       d.       All documents evidencing any and all stops; and

       e.       All driver call in reports and any other documentation of any communications

       between you and Harvill.

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       PLEASE NOTE – NOTHING IN THIS REQUEST SHOULD BE READ TO MEAN

       THAT PLAINTIFF IS NOT INTERESTED IN DEFENDANT MANTAINING ALL

       INFORMATION REGARDING ALL COMMERCIAL DRIVING ACTIVITIES FOR

       SIX MONTHS PRECEDING THE INCIDENT AT ISSUE AND SINCE THE

       INCIDENT AT ISSUE. THESE MATERIALS SHOULD BE RETAINED IN THE

       EVENT THEY ARE REQUESTED.

REQUEST NO. 27:         A copy of all audits and summaries of Harvill’s hours of service covering

the period beginning one (1) year prior to the Subject Incident and ending fourteen (14) days

following the Subject Incident.

                                       VEHICLE INFORMATION

REQUEST NO. 28:         For the tractor involved in the Subject Incident, produce the following

documents:

       a.      Title;

       b.      Registration;

       c.      Operators manual;

       d.      Maintenance Schedules;

       e.      All documents evidencing maintenance performed on the tractor at any time

       within 6 months before the Subject Incident;

       f.      All documents evidencing any inspections of the tractor during the six (6) months

       before the Subject Incident;

       g.      All documents evidencing any repairs and/or modifications to the tractor at any

       time within six (6) months before the Subject Incident;

       h.      All documents evidencing any repairs made to the tractor as a result of the

       Subject collision (including insurance submissions);

       i.      All leases involving the vehicle;

       j.      Documents evidencing the purchase of the vehicle;

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       k.     Documents evidencing the sale of the vehicle if it has been sold;

       l.     Documents evidencing mileage and weight at time of the Subject Incident; and

       m.     Copies of each and every logbook, ledger, file, or the like maintained for any

       reason regarding the vehicle.

REQUEST NO. 29:         For the trailer involved in the Subject Incident, produce the following

documents:

       a.      Title;

       b.      Registration;

       c.      Operators manual;

       d.      Maintenance and service manuals;

       e.      All documents evidencing maintenance performed on the trailer at any time

       within six (6) months before the Subject Incident;

       f.      All documents evidencing any inspections of the trailer during the six (6) months

       before the Subject Incident;

       g.      All documents evidencing any repairs and/or modifications to the trailer at any

       time within six (6) months before the Subject Incident;

       h.      All documents evidencing any repairs made to the trailer as a result of the

       Subject collision (including insurance submissions);

       i.     All leases involving the vehicle;

       j.     Documents evidencing the purchase of the vehicle;

       k.     Documents evidencing the sale of the vehicle if it has been sold;

       l.     Documents evidencing mileage and weight at time of the Subject Incident; and

       m.     Copies of each and every logbook, ledger, file or the like maintained for any

       reason regarding the vehicle.

REQUEST NO. 30:         If any data is available (whether or not downloaded or retrieved) from the

tractor or any part or system from the tractor (e.g., engine control module (ECM), event data

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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recorder (EDR), Sensing Diagnostic Module (SDM), drive-train or transmission control unit,

power steering unit, airbag module, ABS or other brake system, or any EOBR), please produce

both the printout of the data and the data file in its original format. This request is intended to

cover data for as long as it was recorded before during and after the Subject Incident.

REQUEST NO. 31:        If any data is available (whether or not downloaded or retrieved) from the

trailer or any part or system from the trailer (e.g., event data recorder, ABS, or other brake

system, or any EOBR), please produce both the printout of the data and the data file in its

original format. This request is intended to cover data for as long as it was recorded before

during and after the Subject Incident.

REQUEST NO. 32:        If the tractor at issue was equipped with a lane departure warning system

or collision warning system (e.g., VORAD), please produce the printout of the downloaded data

and to the degree possible produce the data file in its original format.

REQUEST NO. 33:        Produce copies of all e-mails between Harvill and Horizon Midwest for the

time-period beginning ninety (90) days prior to the Subject Incident and present.

REQUEST NO. 34:        Produce copies of all communications and transmissions between Harvill

and Horizon Midwest that were transmitted through any system on-board of the tractor or trailer

involved in the Subject Incident for the period beginning thirty (30) days before the Subject

Incident and ending seven (7) days after the Subject Incident. This includes any and all satellite

or cellular systems, regardless of manufacturer, and includes, without limitation, all electronic

on-board recorders (EOBRs) and system such as those made available by Qualcomm,

TransCore, SkyBitz, Fluensee, Fleetilla, Teletrac, Lat-Lon, Telogis, GeoLogic, Cheetah, Xata,

PeopleNet, and other transportation service and product providers.

REQUEST NO. 35:        If the tractor was equipped with any on-board audio or video recording or

monitoring devices and/or any other driver or driver safety monitoring system, please produce

everything that was retrieved or could be retrieved from such devices and systems.



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REQUEST NO. 36:        To the degree that it has not been produced in response to other requests

above, produce all data of any kind that was recovered from the tractor, the trailer and/or,

anything inside or connected to any part or system of the tractor and/or trailer that were involved

in the Subject Incident.

REQUEST NO. 37:        A copy of each out of service report or violation concerning the tractor

and/or the trailer involved in the Subject Incident from the period beginning one (1) year prior to

the Subject Incident through present. This request includes any supplements, responses,

amendments, and dispositions regarding any violation.

REQUEST NO. 38:        Produce all documents evidencing damage to any vehicle or other

property as a result of the Subject Incident, including, but not limited to, repair estimates,

appraisals, purchase invoices, repair bills, and checks or drafts reflecting payment for repair or

replacement, and any other documents concerning or establishing the value of any item of

property before or after the Subject Incident.

REQUEST NO. 39:        Produce all documents given to any person or entity, including any

insurance company in return for payment in whole or in part for property damage, e.g., loan

receipt(s), release(s), assignment(s), etc.

REQUEST NO. 40:        For the tractor and trailer involved in the Subject Incident, produce all the

Driver Vehicle Inspection Reports (DVIR) from the period beginning six (6) months before the

Subject Incident and ending one (1) week after the Subject Incident.

REQUEST NO. 41:        Produce all pre-trip inspection reports for the trip in question and three (3)

months prior to the date of the Subject Incident for the tractor and trailer.

                                                 LOAD

REQUEST NO. 42:        All documents that relate to the load being hauled by Harvill at the time of

the Subject Incident, including, by way of example and without limitation, all manifests, bills of

lading, weight receipts, dispatch documents, content summaries, and documents that address

the contents, ownership, pick-up, detainment, and delivery of the load.

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                                        SUBJECT INCIDENT

REQUEST NO. 43:        A copy of every document related to any investigation done by or on

behalf of Horizon Midwest of the scene of the Subject Incident.

REQUEST NO. 44:        All documents authored by anyone working for or on behalf of Horizon

Midwest that set forth any facts relating to the Subject Incident.

REQUEST NO. 45:        All documents that explain what caused the Subject Incident.

REQUEST NO. 46:        All documents assessing preventability of and/or fault for the Subject

Incident.

REQUEST NO. 47:        If the scene of the Subject Incident was mapped (with a total station or

other survey equipment) within fourteen (14) days of the Subject Incident, please produce a

copy of the survey data files and all diagrams produced therefrom.

REQUEST NO. 48:        Copies of all photographs, video, computer simulations, and any other

documents depicting:

       a.      Any vehicle involved in the Subject Incident;

       b.      Any person involved in the Subject Incident;

       c.      The scene of the Subject Incident; and/or

       d.      Any evidence (roadway markings or other) relevant to the Subject Incident.

REQUEST NO. 49:        Copies of all reports (you know what this means and it is not vague)

relating to the Subject Incident including those prepared by Harvill and those prepared by

anyone working for or on behalf of Horizon Midwest (except lawyers).

REQUEST NO. 50:        A copy of all correspondence and other communications (including e-mail)

that you have had with any person other than your lawyer involving the Subject Incident.

REQUEST NO. 51:        All tapes and transcripts of conversations, interviews, and/or statements

of any person who purports to know any facts or circumstances relevant to the issues of liability,

comparative fault, causation, and/or damages in this case.



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REQUEST NO. 52:          If an Accident Review Board or similar entity reviewed the Subject

Incident, produce the following:

        a.       A copy of all documents (as defined) and other materials of any kind reviewed by

        said board or entity;

        b.       A copy of all reports and documents (as defined) of any kind generated by said

        board or entity;

        c.       Documents evidencing who was on the board;

        d.       Documents evidencing all criteria for review; and

        e.       Determination of preventability and all other conclusions reached by said board

        or entity.

                            GOVERNMENTAL CONTACT AND INTERVENTION

REQUEST NO. 53:          Copies of all documents sent to or received from any governmental

agency regarding the Subject Incident, the driver involved in the Subject Incident, or any subject

that is part of the basis of this lawsuit.

REQUEST NO. 54:          Copy of all documents and communications of any kind related to any

CSA Intervention against your company in the past two (2) years.

                                       POLICY AND PROCEDURES

REQUEST NO. 55:          Copies of all Horizon Midwest policies, procedures, rules, guidelines,

directives, manuals, handbooks, and instructions that were in effect at the time of the Subject

Incident, relating to:

        a.       Working for or with trucking company generally (e.g., employee manual or

        handbook);

        b.       Operation of any motor vehicle (e.g., driving manuals or handbooks, and the

        like);

        c.       Operation of a commercial vehicle;

        d.       Driving safety;

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         e.    Defensive driving;

         f.    Compliance with federal and state laws and regulations;

         g.    Accident investigation;

         h.    Accident review boards;

         i.    Determination of preventability of accidents;

         j.    Hiring, training and supervising drivers; and

         k.    Disciplinary actions.

REQUEST NO. 56:       Copies of each document that Harvill signed to prove that Harvill received

and/or agreed to be bound by any policies, procedures, rules, guidelines, and/or standards of

Horizon Midwest.

REQUEST NO. 57:       To the degree that Horizon Midwest has any rules, policies, procedures,

guidelines, driving manuals, employee handbooks, or manuals, or other similar documents that

were not provided to Harvill before the Subject Incident, please produce them now.

REQUEST NO. 58:       A complete copy of, or in the alternative, access to, each driver safety

training film, video, videotape, videocassette, audio cassette, computer program, simulator, and

driver diagnostic record or test maintained by your company, or used by Horizon Midwest, its

personnel, agents, or employees during the year of the Subject Incident and three (3) years

prior.

REQUEST NO. 59:       Copies of all industry and/or other guidelines and/or practices that you

rely upon to support your contentions in this case.

                                         TRUCKING COMPANY

REQUEST NO. 60:       Copy of documents showing the hierarchy of managerial positions at

Horizon Midwest and who occupied such positions as of the time of the Subject Incident and

presently.

REQUEST NO. 61:       A copy of each document (including articles and presentations) prepared

and/or presented by any Horizon Midwest representative relating to the safe operation of a

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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commercial motor vehicle and/or the safe operation of a trucking company in the past five (5)

years.

REQUEST NO. 62:         All company newsletters distributed during the time-period beginning two

(2) years before the Subject Incident and present.

REQUEST NO. 63:         A copy of all lease and trip lease contracts applicable to Harvill and/or any

vehicle involved in the Subject Incident.

REQUEST NO. 64:         Copies of any contract under which your company was operating the

truck in question at the time of the Subject Incident.

REQUEST NO. 65:         A copy of Horizon Midwest’s accident register maintained as required by

49 CFR § 390.35.

REQUEST NO. 66:         Transcripts or recordings of all depositions of corporate designees for

Horizon Midwest given in the past five (5) years in cases where it was alleged that a driver

working for Horizon Midwest caused injury or death to another person.

REQUEST NO. 67:         Copies of all documents putting any third party on notice of a claim arising

from the Subject Incident

REQUEST NO. 68:         All correspondence and other communication of any kind between you

and any other Defendant to this Action.

                                            MISCELLANEOUS

REQUEST NO. 69:         With respect to each expert witness who may provide testimony at the

trial of this case, provide:

         a.     A copy of all documents (as that term is defined above) and items of any kind

         produced to said expert;

         b.     A copy of all documents (as that term is defined above) and items of any kind

         generated or produced by said expert;

         c.     A copy of the entire file of said expert;

         d.     A current résumé or curriculum vitae for said expert; and

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        e.      All billing records and work logs for said expert.

REQUEST NO. 70:          A copy of any and all documents and other materials which support any

contention that the Subject Incident was the fault of anyone other than the Defendants.

REQUEST NO. 71:          Copies of all diagrams, graphs, illustrations, photographs, charts,

pictures, models, blow-ups, or any other document or thing, including electronically created

charts, animations, or data that you intend to utilize as an exhibit, demonstrative exhibit, or aid

in the trial of this case not previously supplied.

REQUEST NO. 72:          Produce each document or thing that you contend is evidence, proof, or

support of your claims on any issue of negligence or causation as to the Subject Incident,

including, but not limited to, admissions of fault, engineering analysis, scientific tests, and official

or unofficial reports.

REQUEST NO. 73:          Produce each document or thing that you contend evidences or supports

your denial of any of Plaintiffs’ Requests for Admissions.

REQUEST NO. 74:          If any surveillance has been undertaken by or on behalf of Horizon

Midwest, produce a copy of all reports, photographs, video, and anything else generated

through that investigation.




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                                      REQUESTS FOR ADMISSION

REQUEST NO. 1           At the time of the Subject Collision, Horizon Midwest was the owner of a

tractor-trailer involved in the Subject Collision.

REQUEST NO. 2           The DOT number for the tractor-trailer that was involved in the Subject

Collision was 2317693.

REQUEST NO. 3           The MC-ICC number for the tractor-trailer that was involved in the Subject

Collision was MC-791331.

REQUEST NO. 4           The VIN for the tractor-trailer that was involved in the Subject Collision

was 5HTSN422695T37669.

REQUEST NO. 5           At the time of the Subject Collision, Harvill was an agent of Horizon

Midwest.

REQUEST NO. 6           At the time of the Subject Collision, Harvill was an employee of Horizon

Midwest.

REQUEST NO. 7           At the time of the Subject Collision, Harvill was acting within the course

and scope of his employment with Horizon Midwest.

REQUEST NO. 8           At the time of the Subject Collision, Harvill was acting within the course

and scope of his agency with Horizon Midwest.

REQUEST NO. 9           At the time of the Subject Collision, Harvill was operating the tractor-trailer

owned by Horizon Midwest.

REQUEST NO. 10          At the time of the Subject Collision, Harvill was operating the tractor-trailer

with the permission of Horizon Midwest.

REQUEST NO. 11          At the time of the Subject Collision, Harvill was operating the tractor-trailer

with the knowledge of Horizon Midwest.

REQUEST NO. 12          At the time of the Subject Collision, Harvill was operating the tractor-trailer

as trained by Horizon Midwest.

REQUEST NO. 13          Horizon Midwest is properly named in the Complaint.

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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REQUEST NO. 14          Venue is proper in this Court.

REQUEST NO. 15          Jurisdiction is proper in this Court.

REQUEST NO. 16          Service of process upon Horizon Midwest in this civil action was proper.

REQUEST NO. 17          Service of process upon Horizon Midwest in this civil action was legally

sufficient.

REQUEST NO. 18          You are not asserting the defense of insufficiency of service of process.

REQUEST NO. 19          You are not asserting the defense of improper service of process.

REQUEST NO. 20          Harvill was the driver of Horizon Midwest’s tractor-trailer that collided with

Plaintiffs’ vehicle.

REQUEST NO. 21          Harvill was following too closely behind Plaintiffs’ vehicle.

REQUEST NO. 22          Harvill failed to maintain proper control of his truck at the time of the

Subject Collision.

REQUEST NO. 23          At the time of the Subject Collision, Harvill failed to keep and maintain a

proper look out for traffic.

REQUEST NO. 24          Harvill was not paying attention to traffic like he should have been.

REQUEST NO. 25          Harvill gave a recorded statement to one (1) or more insurance

companies that provided liability coverage for the truck that Harvill was driving at the time of the

subject collision.

REQUEST NO. 26          Harvill had a mobile cellular device present inside his vehicle at the time

of the Subject Collision.

REQUEST NO. 27          Harvill had more than one (1) mobile cellular device was present inside

his truck at the time of the Subject Collision.

REQUEST NO. 28          Harvill was using at least one (1) mobile cellular device in his truck at the

time of the Subject Collision.

REQUEST NO. 29          Harvill was using more than one (1) mobile cellular device inside his truck

at the time of the Subject Collision.

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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REQUEST NO. 30         Harvill was using a mobile cellular device at the moment of impact with

Plaintiffs’ vehicle.

REQUEST NO. 31         While at the scene of the collision, Harvill conversed with at least one (1)

person about what had happened before, during, and/or after the Subject Collision using a

mobile cellular device.

REQUEST NO. 32         While at the scene of the collision, Harvill texted at least one (1) person

about what had happened before, during, and/or after the Subject Collision using a mobile

cellular device.

REQUEST NO. 33         While at the scene of the collision, Harvill had a cellular mobile device or

a camera that he could have used to take pictures of the scene of the Subject Collision, the

vehicles involved, and/or the persons involved.

REQUEST NO. 34         While at the scene of the collision, Harvill took at least one (1) photograph

of the scene of the Subject Collision, the vehicles involved, and/or the persons involved using a

mobile cellular device.

REQUEST NO. 35         While at the scene of the collision, Harvill took video recording(s) using a

mobile cellular device of the scene of the Subject Collision, the vehicles involved, and/or the

persons involved.

REQUEST NO. 36         While at the scene of the collision, Harvill took audio recording(s) of the

scene of the Subject Collision, the vehicles involved, and/or the persons involved using a mobile

cellular device.

REQUEST NO. 37         No improper act of the Plaintiffs caused or contributed to the cause of the

Subject Collision.

REQUEST NO. 38         No failure to act by Plaintiffs caused or contributed to the cause of

Subject Collision.

REQUEST NO. 39         No improper act or failure to act on the part of any third party to this action

caused or contributed to the cause of the Subject Collision.

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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REQUEST NO. 40           Harvill’s neglect acts and/or omissions were the sole cause of the Subject

Collision.

REQUEST NO. 41           Harvill’s neglect acts and/or omissions were a contributing cause of the

Subject Collision.

REQUEST NO. 42           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the one hundred (100) feet prior

to the Subject Collision.

REQUEST NO. 43           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the two hundred fifty (250) feet

prior to the Subject Collision.

REQUEST NO. 44           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the five hundred (500) feet prior to

the Subject Collision.

REQUEST NO. 45           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the seven hundred fifty (750) feet

prior to the Subject Collision.

REQUEST NO. 46           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the one thousand (1000) feet prior

to the Subject Collision.

REQUEST NO. 47           The person answering these questions has authority from Horizon

Midwest to do so.


        Dated this 26th day of April, 2021.


                                               WITHERITE LAW GROUP, LLC


                                               /s/ J. Martin Futrell
                                               J. MARTIN FUTRELL

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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                                     GEORGIA STATE BAR NUMBER 450872

                                     ATTORNEY FOR PLAINTIFFS

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                                                                                                    State Court of Fulton County
                    Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 50 of 110                                 **E-FILED**
                                                                                                                     21EV002534
                             General Civil and Domestic Relations Case Filing Information Form                4/26/2021 1:18 PM
                                                                                                     Christopher G. Scott, Clerk
                                                                                 Fulton
                               ☐ Superior or ☐ State Court of ______________________________ County
                                                                                                                    Civil Division


        For Clerk Use Only

        Date Filed _________________________                                Case Number _________________________
                        MM-DD-YYYY

Plaintiff(s)                                                                   Defendant(s)
Hepburn, Lynden
__________________________________________________ Horizon Midwest Inc
                                                   __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
Hepburn, Rhonda
__________________________________________________                             Horizon Freight System Inc
                                                                               __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
                                                   Harvill, Quincy Bernard
__________________________________________________ __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
                                                   Old Republic Insurance Company
__________________________________________________ __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix

                     J. Martin Futrell
Plaintiff’s Attorney ________________________________________                                  450872
                                                                                   Bar Number __________________         Self-Represented ☐

                                                         Check One Case Type in One Box

        General Civil Cases                                                             Domestic Relations Cases
        ☐           Automobile Tort                                                     ☐            Adoption
        ☐           Civil Appeal                                                        ☐            Dissolution/Divorce/Separate
        ☐           Contract                                                                         Maintenance
        ☐           Garnishment                                                         ☐            Family Violence Petition
        ☐           General Tort                                                        ☐            Paternity/Legitimation
        ☐           Habeas Corpus                                                       ☐            Support – IV-D
        ☐           Injunction/Mandamus/Other Writ                                      ☐            Support – Private (non-IV-D)
        ☐           Landlord/Tenant                                                     ☐            Other Domestic Relations
        ☐           Medical Malpractice Tort
        ☐           Product Liability Tort                                              Post-Judgment – Check One Case Type
        ☐           Real Property                                                       ☐   Contempt
        ☐           Restraining Petition                                                  ☐ Non-payment of child support,
        ☐           Other General Civil                                                      medical support, or alimony
                                                                                        ☐   Modification
                                                                                        ☐   Other/Administrative

☐       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.
        ____________________________________________            ____________________________________________
                     Case Number                                              Case Number

☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

☐       Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                  Language(s) Required

☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
        _________________________________________________________________________________________________________________________
        _________________________________________________________________________________________________________________________
                                                                                                                                           Version 1.1.18
                                                                                   State Court of Fulton County
        Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 51 of 110                            **E-FILED**
                                                                                                    21EV002534
                                                                                             4/26/2021 1:18 PM
                                                                                    Christopher G. Scott, Clerk
                                                                                                   Civil Division
                         IN THE STATE COURT OF FULTON COUNTY
                                   STATE OF GEORGIA

LYNDEN HEPBURN, and
RHONDA HEPBURN,

        Plaintiffs,                                          CIVIL ACTION

v.                                                           FILE NO. _______________

HORIZON MIDWEST INC,
HORIZON FREIGHT SYSTEM INC,
QUINCY BERNARD HARVILL, and
OLD REPUBLIC INSURANCE COMPANY,

      Defendants.
____________________________________________________________________________

               PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR
                PRODUCTION OF DOCUMENTS, AND FIRST REQUEST FOR
               ADMISSIONS TO DEFENDANT HORIZON FREIGHT SYSTEM INC

        COME NOW, LYNDEN HEPBURN and RHONDA HEPBURN (“Plaintiffs”), by and

through their counsel of record and pursuant to O.C.G.A. §§ 9-11-33, 9-11-34, and 9-11-36,

hereby propound the following Interrogatories, Request for Production of Documents, and

Request for Admissions to Defendant Trucking Company Horizon Freight System Inc (“Horizon

Freight”) for response under oath pursuant to Rule 33, Rule 34, and Rule 36 of the Georgia Civil

Practice Act and as required by law.

                                          DEFINITIONS

        As used herein, the terms listed below are defined as follows:

     1. The term "Document" as used herein shall be given a very broad definition to include

every type of paper, writing, data, record, graphic, drawing, photograph, audio recording and

video recording. The term includes material in all forms, including printed, written, recorded, or

other. The term includes all files, records and data contained in any computer system,

computer component and/or computer storage (e.g., hard drive, disc, magnetic tape, backup

system, etc.). This term includes, but is not limited to, correspondence, reports, meeting

minutes, memoranda, stenographic or handwritten notes, diaries, notebooks, account books,
PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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orders, invoices, statements, bills, checks, vouchers, purchase orders, studies, surveys, charts,

maps, analyses, publications, books, pamphlets, periodicals, catalogues, brochures, schedules,

circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-mail attachments, data

sheets, work sheets, statistical compilations, data processing cards, microfilms, computer

records (including printouts, disks or other magnetic storage media), tapes, photographs

(positive or negative prints), drawings, films, videotapes, hard drive recordings, pictures, and

voice recordings. Plaintiff expressly intends for the term "Document" to include every copy of

such writing, etc. when such copy contains any commentary or notation whatsoever that does

not appear on the original and any attachments or exhibits to the requested document or any

other documents referred to in the requested document or incorporated by reference.

   2. "Person" means any natural person, corporation, partnership, proprietorship,

association, organization, group of persons, or any governmental body or subdivision thereof.

   3.   (a)    "Identify" with respect to any "person" or any reference to stating the "identity"

of any "person" means to provide the name, home address, telephone number, business name,

business address, and business telephone number of such person, and a description of each

such person's connection with the events in question.

        (b)    "Identify" with respect to any "document" or any reference to stating the

"identification" of any "document" means to provide the title and date of each such document,

the name and address of the party or parties responsible for the preparation of each such

document, the name and address of the party who requested or required the preparation of the

document or on whose behalf it was prepared, the name and address of the recipient or

recipients of each such document, and the names and addresses of any and all persons who

have custody or control of each such document, or copies thereof.

   4. “Similar” shall have the meaning given in the American Heritage Dictionary, which is

"showing some resemblance; related in appearance or nature; alike but not identical." As used

here, the word "similar" shall not be limited as if modified by the word "substantially" and shall
PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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not mean "the same". If you limit the information provided because you use another

interpretation of the word "similar," please state the interpretation you are using and reveal the

nature of the information withheld.

    5.    The terms “and” as well as “or” shall be each construed conjunctively and disjunctively

as necessary to bring within the scope of each interrogatory and request for documents all

information and documents that might otherwise be construed to be outside its scope. The term

“and/or” shall be construed likewise.

    6.    Whenever necessary to bring within the scope of an interrogatory or request for

production of documents any information or document that might otherwise be construed to be

outside its scope: (i) the use of a verb in any tense shall be construed as the use of the verb in

all other tenses; (ii) the use of the singular shall be construed as the use of the plural and vice

versa; and (iii) “any” includes “all,” and “all” includes “any.”

    7.    With regard to any term used herein that is deemed by the responding party as being

ambiguous or vague, a term shall be construed in its broadest sense to encompass all

reasonable definitions of that term.

    8. "Subject Collision" means the collision described in the Complaint.

    9. “You”, “Your”, or “Horizon Freight” means Defendant HORIZON FREIGHT SYSTEM

         INC.

    10. “Harvill” means Defendant Driver QUINCY BERNARD HARVILL.

                                          INTERROGATORIES

                                                         1.

         If you contend that Plaintiffs have sued the wrong party or that your name is incorrectly

stated in this lawsuit, please explain the basis for your contention and identify the correct legal

entity for the correct party in interest to this suit.

                                                         2.

         Identify each person Horizon Freight expects to call as an expert witness at trial
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including in your response a summary of each opinion the expert holds in regards to this case,

the factual basis for each such opinion, a list of all documents and evidence of any kind

provided to the expert for review and a list of all documents and evidence of any kind that

support each opinion.

                                            INSURANCE

                                                  3.

       For each liability insurance policy that you had in place at the time of the Subject

Collision, state the name of insurer; the policy number; the limits of coverage; the name(s) of all

insureds; and whether any insurer has offered a defense under a reservation of rights or

otherwise contested coverage for the subject case. Please note that this interrogatory is

requesting information relating to ALL insurance coverage including excess coverage.

                                       VEHICLE INFO/DATA

                                                  4.

       Please provide the weight of the tractor-trailer at the time of the Subject Collision.

                                                  5.

   a. Identify all systems and devices in or on the tractor-trailer that have the capability of

       monitoring, capturing, recording and/or transmitting any video, data and/or

       communications of any kind (this includes, without limitation, any engine control module

       (ECM), event data recorder (EDR/CDR), airbag control module (ACM), Sensing

       Diagnostic Module (SDM), drive train or transmission control unit, brake control module,

       power steering unit, electronic onboard recorder (EOBR) Electronic Logging Device

       (ELD), Collision Avoidance System (CAS), Telematics system, Critical Event Reporting

       System, Lane Departure System, Dash Cam (or other video devices), GPS system,

       truck or trailer tracking system, system that allows communication between drivers and

       dispatchers, etc.);


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   b. With respect to each system identified, explain what video, data and/or communications

       the system is capable of monitoring, capturing, recording and/or transmitting;

   c. With respect to each system identified, explain what video, data and/or communications

       have been downloaded and/or preserved in connection with the Subject Collision and if

       so when and by whom; and

   d. With respect to each system identified, explain what video, data and/or communications

       have NOT been downloaded and/or preserved in connection with the Subject Collision

       and explain why not and whether it is still possible to obtain this material.

                                       DRIVER INFORMATION

                                                   6.

       Explain the relationship between Horizon Freight and Defendant Driver Quincy Bernard

Harvill (“Harvill”) at the time of the Subject Collision including his employment status (e.g.,

leased driver, company driver, etc.), how he was compensated for driving (e.g., by the hour, by

the load, by the mile, salary, or other) and when the relationship began and ended.

                                                   7.

       If you maintain that Harvill was not acting within the course and scope of his employment

or agency at the time of the Subject Collision, explain the basis for your contention and identify

documents and witnesses that support your contention.

                                                   8.

       Identify and explain all communications of any kind between Harvill and anyone acting

for or on behalf of Horizon Freight during the twenty-four (24) hours before and after the Subject

Collision. For each communication, identify the method of communication (cell phone,

QualComm, other), time of communication, persons involved, and the general subject.

                                    REGULATIONS AND POLICIES

                                                   9.

       Identify all Horizon Freight policies, procedures, rules, guidelines, directives, manuals,
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handbooks and instructions that were in effect for Harvill at the time of the Subject Collision.



                                                   10.

       Identify all Horizon Freight policies, procedures, rules, guidelines, directives, manuals,

handbooks and instructions and training applicable to Harvill regarding driving, defensive

driving, turning, intersections, driver distraction and use of cell phones.

                               INVESTIGATION OF SUBJECT COLLISION

                                                   11.

       Describe in detail when and how you first became aware that Harvill was involved in the

Subject Collision including in your answer the identity of all persons involved in the investigation

of the Subject Collision, their role and position and what information was conveyed.

                                                   12.

       State whether you maintain that either Plaintiffs or any non-party has any responsibility

of any kind for causing the injuries and/or damages alleged in the Complaint and provide a

detailed description of the basis for your position, including the identity of all person(s) who have

any knowledge regarding this issue and/or all documents evidencing your position.

                                                   13.

       Identify all persons who to your knowledge were present at the scene of the Subject

Collision at any time in the forty-eight (48) hours after the Subject Collision and explain their

role, why they were at the scene and what actions they took.

                                                   14.

       Identify all person(s) who you to your knowledge have or may have any relevant

information regarding: the Subject Collision; the facts leading up to the Subject Collision; the

investigation of the Subject Collision; any party to this action; any vehicles involved in the

Subject Collision; and/or any claims or defenses raised in this action. The purpose of this


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Interrogatory is to identify all witnesses whom Horizon Freight believes may have relevant

testimony of any kind in connection with this case.

                                                   15.

       Identify all photographs, motion pictures, maps, plats, drawings, diagrams, videotapes,

or other tangible or documentary evidence depicting the scene of the Subject Collision and/or

any person or vehicle involved in the Subject Collision.

                                                   16.

       Did Horizon Freight make any effort to perform any accident review, any avoidable/non-

avoidable accident determination, any root cause analysis, any DOT reportability determination,

or any type of investigation or analysis to discover the cause(s) or contributing cause(s) of the

Subject Collision and/or to evaluate whether your driver should be disciplined for any action or

inactions related to the Subject Collision? If so, please identify all person(s) involved, all

documents and information reviewed, and all determinations.

                                          MISCELLANEOUS

                                                   17.

       Identify each person who was involved in responding to each of the Requests for

Admissions served upon you in this civil action.

                                                   18.

       For each of Plaintiffs’ First Request for Admissions to Defendant Horizon Freight System

Inc that you did not admit without qualification, explain in detail the reason for your refusal to

admit and identify all persons and documents that support your response.




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                                          DOCUMENT REQUESTS

                                                 GENERAL

REQUEST NO. 1:          A copy of each document utilized by you in any way in responding to

Plaintiffs’ First Interrogatories to Defendant Horizon Freight System Inc.

REQUEST NO. 2:          A copy of each document retention policy in effect for Horizon Freight at

any time between the time of the Subject Incident and present.

REQUEST NO. 3:          A copy of each insurance policy (and declarations page for each policy)

that provides or may provide coverage for damages sustained in the Subject Incident.

REQUEST NO. 4:          Copies of all reservation of rights letters and/or agreements regarding

insurance coverage for the Subject Incident.

                                                DRIVER

REQUEST NO. 5:          All documents setting forth the relationship between Harvill and Horizon

Freight. This includes, but is not limited to, all leases, employment contracts, and independent

contractor agreements and other contracts, agreements, memorandum, and the like.

REQUEST NO. 6:          The contents of Harvill’s driver qualification file, driver investigation file,

driver history file, and all documents that demonstrate compliance with federal and state driver

qualification laws and regulations. The requested documents include, but are not limited to, all

documents required by FMCSR, 49 CFR Part 391, and the state equivalent thereto. If any

responsive documents have been removed from the driver qualification file, these should be

produced nonetheless.

REQUEST NO. 7:          All documents of any kind that relate to any pre-employment background

investigation of Harvill, including without limitation any investigation of Harvill’s qualifications,

character, driving history, training, criminal history, drug use, financial responsibility, medical

conditions, health conditions, and/or any other matter relevant to employment with Horizon

Freight. This specifically includes all data and information obtained through FMCSA’s Pre-

Employment Screening Program.
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REQUEST NO. 8:         All documents that relate in any way to your recruiting of Harvill.

REQUEST NO. 9:         All documents that relate in any way to you hiring Harvill.

REQUEST NO. 10:        All documents that relate in any way to any orientation provided by

Horizon Freight to Harvill.

REQUEST NO. 11:        All documents that relate in any way to training of Harvill. This includes,

but is not limited to, all documents that show all training received by Harvill, when, where, and

who provided the training, and all materials used for training.

REQUEST NO. 12:        All quizzes, tests, and/or other assessments (questions and answers)

ever given by or on behalf of Horizon Freight to Harvill at any time. An answer key should also

be provided.

REQUEST NO. 13:        Copies of all documents (a) explaining how Harvill was compensated for

the one (1) month leading up to and including the date of the Subject Incident and extending

one (1) week after the date of the Subject Incident; and (b) showing any detention of wages

over the same time-period.

REQUEST NO. 14:        A copy of the front and back of every driver’s license issued to Harvill

(regardless of name used) in your possession, custody, and/or control.

REQUEST NO. 15:        All documents placing you on notice of any violation by Harvill of any law,

ordinance, or regulation. This includes, but is not limited to, reports of violations pursuant to

Section 391.27(a) of the Federal Motor Carrier Safety Regulations, as well as copies of

citations, warnings, and inspection reports.

REQUEST NO. 16:        All documents relating to any and all blood, urine, hair, or other type of

drug or alcohol testing of Harvill in your possession, custody, and/or control.

REQUEST NO. 17:        A copy of all documents relating to any violation of any safety rule or

principle by Harvill at any time.

REQUEST NO. 18:        All documents of any kind that relate to any action (formal or informal) by

any supervisor or manager or anyone working by or on behalf of Horizon Freight directed to
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Harvill for the purpose of teaching, counseling, disciplining, correcting, or otherwise managing

Harvill in any way relating to the safe operation of a commercial vehicle. This includes, but is not

limited to, all disciplinary actions and the contents of all disciplinary folders or files of any kind by

whatever name called.

REQUEST NO. 19:         A copy of all documents in your possession relating in any way to any

motor vehicle collision and/or accident of any kind in which Harvill has been involved.

REQUEST NO. 20:         Copies of all documents relating to any complaint, criticism, or concern

raised by any person or entity regarding the driving performance and/or safety of Harvill. This

should include, but is not limited to, customer complaints and call-ins by motorists either to

company directly or to any service (i.e., How’s My Driving? Call 800…).

REQUEST NO. 21:         For each communication device (e.g., cell phones, PDAs, smartphones,

texting, and e-mailing devices, etc.) that was in the tractor that Harvill was operating at the time

of the Subject Incident, produce all documents reflecting usage and billing for the time-period

beginning forty-eight (48) hours before the Subject Incident and ending forty-eight (48) hours

after the Subject Incident. This includes all devices, whether owned by Harvill or not, and

whether it was in use at the time of the Subject Incident or not.

REQUEST NO. 22:         Copies of all documents prepared by Harvill that describes the Subject

Incident or the circumstances leading up to the Subject Incident.

REQUEST NO. 23:         All documents evidencing any evaluation of the driving abilities, safety,

and/or performance of Harvill that have not been produced in response to the preceding

requests.

REQUEST NO. 24:         A complete copy of the contents of each and every file (whether

maintained physically or electronically), regardless of what the file is called, regarding or

addressing Harvill in any way, that has not been produced in response to other requests above.




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                             HOURS OF SERVICE-RELATED DOCUMENTS

REQUEST NO. 25:         A copy of all Harvill’s hours of service logs and any other driving logs

and/or time sheets for the period beginning one hundred eighty (180) days before the Subject

Incident and ending seven (7) days following the Subject Incident.

REQUEST NO. 26:         In addition to the documents responsive to the preceding request,

produce all documents in your possession, custody, or control that demonstrate what Harvill

was doing for the time-period beginning fourteen (14) days before the Subject Incident and

ending two (2) days following the Subject Incident. The requested documents include all

documents that a motor carrier division officer might use to audit the logs of this driver,

including, but not but are not limited to:

       a.       All documents evidencing hours of service not produced above (e.g., daily logs

       and time sheets as well as log audits and letters regarding hours of service);

       b.       All documents that could be used to check the accuracy of Hours of Service-logs

       and/or time sheets;

       c.       All documents related to trips (including driver’s trip envelopes, trip reports, work

       reports, bills of lading, manifests, cargo documents of any kind, load documents of any

       kind, loading and unloading records of any kind, load detention records of any kind,

       freight bills, pick-up and delivery records of any kind, directions (e.g., routes to take),

       instructions (delivery notes, times, special handling), driver's trip check and settlement

       sheets, dispatch records, mileage reports, weight and scale records, and receipts for

       fuel, food, tolls, lodging, permits, repairs, and/or other purchases and expenses of any

       kind whether reimbursable or not, final trip accounting documents and printouts, as well

       as any and all reports and/or summaries of any kind referencing the above information);

       d.       All documents evidencing any and all stops; and

       e.       All driver call in reports and any other documentation of any communications

       between you and Harvill.
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       PLEASE NOTE – NOTHING IN THIS REQUEST SHOULD BE READ TO MEAN

       THAT PLAINTIFF IS NOT INTERESTED IN DEFENDANT MANTAINING ALL

       INFORMATION REGARDING ALL COMMERCIAL DRIVING ACTIVITIES FOR

       SIX MONTHS PRECEDING THE INCIDENT AT ISSUE AND SINCE THE

       INCIDENT AT ISSUE. THESE MATERIALS SHOULD BE RETAINED IN THE

       EVENT THEY ARE REQUESTED.

REQUEST NO. 27:         A copy of all audits and summaries of Harvill’s hours of service covering

the period beginning one (1) year prior to the Subject Incident and ending fourteen (14) days

following the Subject Incident.

                                       VEHICLE INFORMATION

REQUEST NO. 28:         For the tractor involved in the Subject Incident, produce the following

documents:

       a.      Title;

       b.      Registration;

       c.      Operators manual;

       d.      Maintenance Schedules;

       e.      All documents evidencing maintenance performed on the tractor at any time

       within 6 months before the Subject Incident;

       f.      All documents evidencing any inspections of the tractor during the six (6) months

       before the Subject Incident;

       g.      All documents evidencing any repairs and/or modifications to the tractor at any

       time within six (6) months before the Subject Incident;

       h.      All documents evidencing any repairs made to the tractor as a result of the

       Subject collision (including insurance submissions);

       i.      All leases involving the vehicle;

       j.      Documents evidencing the purchase of the vehicle;
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       k.     Documents evidencing the sale of the vehicle if it has been sold;

       l.     Documents evidencing mileage and weight at time of the Subject Incident; and

       m.     Copies of each and every logbook, ledger, file, or the like maintained for any

       reason regarding the vehicle.

REQUEST NO. 29:         For the trailer involved in the Subject Incident, produce the following

documents:

       a.      Title;

       b.      Registration;

       c.      Operators manual;

       d.      Maintenance and service manuals;

       e.      All documents evidencing maintenance performed on the trailer at any time

       within six (6) months before the Subject Incident;

       f.      All documents evidencing any inspections of the trailer during the six (6) months

       before the Subject Incident;

       g.      All documents evidencing any repairs and/or modifications to the trailer at any

       time within six (6) months before the Subject Incident;

       h.      All documents evidencing any repairs made to the trailer as a result of the

       Subject collision (including insurance submissions);

       i.     All leases involving the vehicle;

       j.     Documents evidencing the purchase of the vehicle;

       k.     Documents evidencing the sale of the vehicle if it has been sold;

       l.     Documents evidencing mileage and weight at time of the Subject Incident; and

       m.     Copies of each and every logbook, ledger, file or the like maintained for any

       reason regarding the vehicle.

REQUEST NO. 30:         If any data is available (whether or not downloaded or retrieved) from the

tractor or any part or system from the tractor (e.g., engine control module (ECM), event data
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recorder (EDR), Sensing Diagnostic Module (SDM), drive-train or transmission control unit,

power steering unit, airbag module, ABS or other brake system, or any EOBR), please produce

both the printout of the data and the data file in its original format. This request is intended to

cover data for as long as it was recorded before during and after the Subject Incident.

REQUEST NO. 31:        If any data is available (whether or not downloaded or retrieved) from the

trailer or any part or system from the trailer (e.g., event data recorder, ABS, or other brake

system, or any EOBR), please produce both the printout of the data and the data file in its

original format. This request is intended to cover data for as long as it was recorded before

during and after the Subject Incident.

REQUEST NO. 32:        If the tractor at issue was equipped with a lane departure warning system

or collision warning system (e.g., VORAD), please produce the printout of the downloaded data

and to the degree possible produce the data file in its original format.

REQUEST NO. 33:        Produce copies of all e-mails between Harvill and Horizon Freight for the

time-period beginning ninety (90) days prior to the Subject Incident and present.

REQUEST NO. 34:        Produce copies of all communications and transmissions between Harvill

and Horizon Freight that were transmitted through any system on-board of the tractor or trailer

involved in the Subject Incident for the period beginning thirty (30) days before the Subject

Incident and ending seven (7) days after the Subject Incident. This includes any and all satellite

or cellular systems, regardless of manufacturer, and includes, without limitation, all electronic

on-board recorders (EOBRs) and system such as those made available by Qualcomm,

TransCore, SkyBitz, Fluensee, Fleetilla, Teletrac, Lat-Lon, Telogis, GeoLogic, Cheetah, Xata,

PeopleNet, and other transportation service and product providers.

REQUEST NO. 35:        If the tractor was equipped with any on-board audio or video recording or

monitoring devices and/or any other driver or driver safety monitoring system, please produce

everything that was retrieved or could be retrieved from such devices and systems.


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REQUEST NO. 36:        To the degree that it has not been produced in response to other requests

above, produce all data of any kind that was recovered from the tractor, the trailer and/or,

anything inside or connected to any part or system of the tractor and/or trailer that were involved

in the Subject Incident.

REQUEST NO. 37:        A copy of each out of service report or violation concerning the tractor

and/or the trailer involved in the Subject Incident from the period beginning one (1) year prior to

the Subject Incident through present. This request includes any supplements, responses,

amendments, and dispositions regarding any violation.

REQUEST NO. 38:        Produce all documents evidencing damage to any vehicle or other

property as a result of the Subject Incident, including, but not limited to, repair estimates,

appraisals, purchase invoices, repair bills, and checks or drafts reflecting payment for repair or

replacement, and any other documents concerning or establishing the value of any item of

property before or after the Subject Incident.

REQUEST NO. 39:        Produce all documents given to any person or entity, including any

insurance company in return for payment in whole or in part for property damage, e.g., loan

receipt(s), release(s), assignment(s), etc.

REQUEST NO. 40:        For the tractor and trailer involved in the Subject Incident, produce all the

Driver Vehicle Inspection Reports (DVIR) from the period beginning six (6) months before the

Subject Incident and ending one (1) week after the Subject Incident.

REQUEST NO. 41:        Produce all pre-trip inspection reports for the trip in question and three (3)

months prior to the date of the Subject Incident for the tractor and trailer.

                                                 LOAD

REQUEST NO. 42:        All documents that relate to the load being hauled by Harvill at the time of

the Subject Incident, including, by way of example and without limitation, all manifests, bills of

lading, weight receipts, dispatch documents, content summaries, and documents that address

the contents, ownership, pick-up, detainment, and delivery of the load.
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                                         SUBJECT INCIDENT

REQUEST NO. 43:        A copy of every document related to any investigation done by or on

behalf of Horizon Freight of the scene of the Subject Incident.

REQUEST NO. 44:        All documents authored by anyone working for or on behalf of Horizon

Freight that set forth any facts relating to the Subject Incident.

REQUEST NO. 45:        All documents that explain what caused the Subject Incident.

REQUEST NO. 46:        All documents assessing preventability of and/or fault for the Subject

Incident.

REQUEST NO. 47:        If the scene of the Subject Incident was mapped (with a total station or

other survey equipment) within fourteen (14) days of the Subject Incident, please produce a

copy of the survey data files and all diagrams produced therefrom.

REQUEST NO. 48:        Copies of all photographs, video, computer simulations, and any other

documents depicting:

       a.      Any vehicle involved in the Subject Incident;

       b.      Any person involved in the Subject Incident;

       c.      The scene of the Subject Incident; and/or

       d.      Any evidence (roadway markings or other) relevant to the Subject Incident.

REQUEST NO. 49:        Copies of all reports (you know what this means and it is not vague)

relating to the Subject Incident including those prepared by Harvill and those prepared by

anyone working for or on behalf of Horizon Freight (except lawyers).

REQUEST NO. 50:        A copy of all correspondence and other communications (including e-mail)

that you have had with any person other than your lawyer involving the Subject Incident.

REQUEST NO. 51:        All tapes and transcripts of conversations, interviews, and/or statements

of any person who purports to know any facts or circumstances relevant to the issues of liability,

comparative fault, causation, and/or damages in this case.


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REQUEST NO. 52:          If an Accident Review Board or similar entity reviewed the Subject

Incident, produce the following:

        a.       A copy of all documents (as defined) and other materials of any kind reviewed by

        said board or entity;

        b.       A copy of all reports and documents (as defined) of any kind generated by said

        board or entity;

        c.       Documents evidencing who was on the board;

        d.       Documents evidencing all criteria for review; and

        e.       Determination of preventability and all other conclusions reached by said board

        or entity.

                            GOVERNMENTAL CONTACT AND INTERVENTION

REQUEST NO. 53:          Copies of all documents sent to or received from any governmental

agency regarding the Subject Incident, the driver involved in the Subject Incident, or any subject

that is part of the basis of this lawsuit.

REQUEST NO. 54:          Copy of all documents and communications of any kind related to any

CSA Intervention against your company in the past two (2) years.

                                       POLICY AND PROCEDURES

REQUEST NO. 55:          Copies of all Horizon Freight policies, procedures, rules, guidelines,

directives, manuals, handbooks, and instructions that were in effect at the time of the Subject

Incident, relating to:

        a.       Working for or with trucking company generally (e.g., employee manual or

        handbook);

        b.       Operation of any motor vehicle (e.g., driving manuals or handbooks, and the

        like);

        c.       Operation of a commercial vehicle;

        d.       Driving safety;
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         e.    Defensive driving;

         f.    Compliance with federal and state laws and regulations;

         g.    Accident investigation;

         h.    Accident review boards;

         i.    Determination of preventability of accidents;

         j.    Hiring, training and supervising drivers; and

         k.    Disciplinary actions.

REQUEST NO. 56:       Copies of each document that Harvill signed to prove that Harvill received

and/or agreed to be bound by any policies, procedures, rules, guidelines, and/or standards of

Horizon Freight.

REQUEST NO. 57:       To the degree that Horizon Freight has any rules, policies, procedures,

guidelines, driving manuals, employee handbooks, or manuals, or other similar documents that

were not provided to Harvill before the Subject Incident, please produce them now.

REQUEST NO. 58:       A complete copy of, or in the alternative, access to, each driver safety

training film, video, videotape, videocassette, audio cassette, computer program, simulator, and

driver diagnostic record or test maintained by your company, or used by Horizon Freight, its

personnel, agents, or employees during the year of the Subject Incident and three (3) years

prior.

REQUEST NO. 59:       Copies of all industry and/or other guidelines and/or practices that you

rely upon to support your contentions in this case.

                                         TRUCKING COMPANY

REQUEST NO. 60:       Copy of documents showing the hierarchy of managerial positions at

Horizon Freight and who occupied such positions as of the time of the Subject Incident and

presently.

REQUEST NO. 61:       A copy of each document (including articles and presentations) prepared

and/or presented by any Horizon Freight representative relating to the safe operation of a
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commercial motor vehicle and/or the safe operation of a trucking company in the past five (5)

years.

REQUEST NO. 62:         All company newsletters distributed during the time-period beginning two

(2) years before the Subject Incident and present.

REQUEST NO. 63:         A copy of all lease and trip lease contracts applicable to Harvill and/or any

vehicle involved in the Subject Incident.

REQUEST NO. 64:         Copies of any contract under which your company was operating the

truck in question at the time of the Subject Incident.

REQUEST NO. 65:         A copy of Horizon Freight’s accident register maintained as required by

49 CFR § 390.35.

REQUEST NO. 66:         Transcripts or recordings of all depositions of corporate designees for

Horizon Freight given in the past five (5) years in cases where it was alleged that a driver

working for Horizon Freight caused injury or death to another person.

REQUEST NO. 67:         Copies of all documents putting any third party on notice of a claim arising

from the Subject Incident

REQUEST NO. 68:         All correspondence and other communication of any kind between you

and any other Defendant to this Action.

                                            MISCELLANEOUS

REQUEST NO. 69:         With respect to each expert witness who may provide testimony at the

trial of this case, provide:

         a.     A copy of all documents (as that term is defined above) and items of any kind

         produced to said expert;

         b.     A copy of all documents (as that term is defined above) and items of any kind

         generated or produced by said expert;

         c.     A copy of the entire file of said expert;

         d.     A current résumé or curriculum vitae for said expert; and
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        e.      All billing records and work logs for said expert.

REQUEST NO. 70:          A copy of any and all documents and other materials which support any

contention that the Subject Incident was the fault of anyone other than the Defendants.

REQUEST NO. 71:          Copies of all diagrams, graphs, illustrations, photographs, charts,

pictures, models, blow-ups, or any other document or thing, including electronically created

charts, animations, or data that you intend to utilize as an exhibit, demonstrative exhibit, or aid

in the trial of this case not previously supplied.

REQUEST NO. 72:          Produce each document or thing that you contend is evidence, proof, or

support of your claims on any issue of negligence or causation as to the Subject Incident,

including, but not limited to, admissions of fault, engineering analysis, scientific tests, and official

or unofficial reports.

REQUEST NO. 73:          Produce each document or thing that you contend evidences or supports

your denial of any of Plaintiffs’ Requests for Admissions.

REQUEST NO. 74:          If any surveillance has been undertaken by or on behalf of Horizon

Freight, produce a copy of all reports, photographs, video, and anything else generated through

that investigation.




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                                      REQUESTS FOR ADMISSION

REQUEST NO. 1           At the time of the Subject Collision, Horizon Freight was the owner of a

tractor-trailer involved in the Subject Collision.

REQUEST NO. 2           The DOT number for the tractor-trailer that was involved in the Subject

Collision was 237360.

REQUEST NO. 3           The MC-ICC number for the tractor-trailer that was involved in the Subject

Collision was MC-169607.

REQUEST NO. 4           The VIN for the tractor-trailer that was involved in the Subject Collision

was 5HTSN422695T37669.

REQUEST NO. 5           At the time of the Subject Collision, Harvill was an agent of Horizon

Freight.

REQUEST NO. 6           At the time of the Subject Collision, Harvill was an employee of Horizon

Freight.

REQUEST NO. 7           At the time of the Subject Collision, Harvill was acting within the course

and scope of his employment with Horizon Freight.

REQUEST NO. 8           At the time of the Subject Collision, Harvill was acting within the course

and scope of his agency with Horizon Freight.

REQUEST NO. 9           At the time of the Subject Collision, Harvill was operating the tractor-trailer

owned by Horizon Freight.

REQUEST NO. 10          At the time of the Subject Collision, Harvill was operating the tractor-trailer

with the permission of Horizon Freight.

REQUEST NO. 11          At the time of the Subject Collision, Harvill was operating the tractor-trailer

with the knowledge of Horizon Freight.

REQUEST NO. 12          At the time of the Subject Collision, Harvill was operating the tractor-trailer

as trained by Horizon Freight.

REQUEST NO. 13          Horizon Freight is properly named in the Complaint.
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REQUEST NO. 14          Venue is proper in this Court.

REQUEST NO. 15          Jurisdiction is proper in this Court.

REQUEST NO. 16          Service of process upon Horizon Freight in this civil action was proper.

REQUEST NO. 17          Service of process upon Horizon Freight in this civil action was legally

sufficient.

REQUEST NO. 18          You are not asserting the defense of insufficiency of service of process.

REQUEST NO. 19          You are not asserting the defense of improper service of process.

REQUEST NO. 20          Harvill was the driver of Horizon Freight’s tractor-trailer that collided with

Plaintiffs’ vehicle.

REQUEST NO. 21          Harvill was following too closely behind Plaintiffs’ vehicle.

REQUEST NO. 22          Harvill failed to maintain proper control of his truck at the time of the

Subject Collision.

REQUEST NO. 23          At the time of the Subject Collision, Harvill failed to keep and maintain a

proper look out for traffic.

REQUEST NO. 24          Harvill was not paying attention to traffic like he should have been.

REQUEST NO. 25          Harvill gave a recorded statement to one (1) or more insurance

companies that provided liability coverage for the truck that Harvill was driving at the time of the

subject collision.

REQUEST NO. 26          Harvill had a mobile cellular device present inside his vehicle at the time

of the Subject Collision.

REQUEST NO. 27          Harvill had more than one (1) mobile cellular device was present inside

his truck at the time of the Subject Collision.

REQUEST NO. 28          Harvill was using at least one (1) mobile cellular device in his truck at the

time of the Subject Collision.

REQUEST NO. 29          Harvill was using more than one (1) mobile cellular device inside his truck

at the time of the Subject Collision.
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REQUEST NO. 30         Harvill was using a mobile cellular device at the moment of impact with

Plaintiffs’ vehicle.

REQUEST NO. 31         While at the scene of the collision, Harvill conversed with at least one (1)

person about what had happened before, during, and/or after the Subject Collision using a

mobile cellular device.

REQUEST NO. 32         While at the scene of the collision, Harvill texted at least one (1) person

about what had happened before, during, and/or after the Subject Collision using a mobile

cellular device.

REQUEST NO. 33         While at the scene of the collision, Harvill had a cellular mobile device or

a camera that he could have used to take pictures of the scene of the Subject Collision, the

vehicles involved, and/or the persons involved.

REQUEST NO. 34         While at the scene of the collision, Harvill took at least one (1) photograph

of the scene of the Subject Collision, the vehicles involved, and/or the persons involved using a

mobile cellular device.

REQUEST NO. 35         While at the scene of the collision, Harvill took video recording(s) using a

mobile cellular device of the scene of the Subject Collision, the vehicles involved, and/or the

persons involved.

REQUEST NO. 36         While at the scene of the collision, Harvill took audio recording(s) of the

scene of the Subject Collision, the vehicles involved, and/or the persons involved using a mobile

cellular device.

REQUEST NO. 37         No improper act of the Plaintiffs caused or contributed to the cause of the

Subject Collision.

REQUEST NO. 38         No failure to act by Plaintiffs caused or contributed to the cause of

Subject Collision.

REQUEST NO. 39         No improper act or failure to act on the part of any third party to this action

caused or contributed to the cause of the Subject Collision.
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REQUEST NO. 40           Harvill’s neglect acts and/or omissions were the sole cause of the Subject

Collision.

REQUEST NO. 41           Harvill’s neglect acts and/or omissions were a contributing cause of the

Subject Collision.

REQUEST NO. 42           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the one hundred (100) feet prior

to the Subject Collision.

REQUEST NO. 43           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the two hundred fifty (250) feet

prior to the Subject Collision.

REQUEST NO. 44           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the five hundred (500) feet prior to

the Subject Collision.

REQUEST NO. 45           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the seven hundred fifty (750) feet

prior to the Subject Collision.

REQUEST NO. 46           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the one thousand (1000) feet prior

to the Subject Collision.

REQUEST NO. 47           The person answering these questions has authority from Horizon Freight

to do so.


        Dated this 26th day of April, 2021.


                                               WITHERITE LAW GROUP, LLC


                                               /s/ J. Martin Futrell
                                               J. MARTIN FUTRELL
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                                     GEORGIA STATE BAR NUMBER 450872

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                                                                                   State Court of Fulton County
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                                                                                                    21EV002534
                                                                                             4/26/2021 1:18 PM
                                                                                    Christopher G. Scott, Clerk
                                                                                                   Civil Division
                         IN THE STATE COURT OF FULTON COUNTY
                                   STATE OF GEORGIA

LYNDEN HEPBURN, and
RHONDA HEPBURN,

       Plaintiffs,                                           CIVIL ACTION

v.                                                           FILE NO. _______________

HORIZON MIDWEST INC,
HORIZON FREIGHT SYSTEM INC,
QUINCY BERNARD HARVILL, and
OLD REPUBLIC INSURANCE COMPANY,

      Defendants.
____________________________________________________________________________

                PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST
               FOR PRODUCTION OF DOCUMENTS, AND FIRST REQUEST
             FOR ADMISSIONS TO DEFENDANT QUINCY BERNARD HARVILL

       COME NOW, LYNDEN HEPBURN and RHONDA HEPBURN (“Plaintiffs”), by and

through their counsel of record and pursuant to O.C.G.A. §§ 9-11-33, 9-11-34, and 9-11-36,

hereby propound the following Interrogatories, Request for Production of Documents, and

Request for Admissions to Defendant Driver Quincy Bernard Harvill (“Harvill”) for response

under oath pursuant to Rule 33, Rule 34, and Rule 36 of the Georgia Civil Practice Act and as

required by law.

                                          DEFINITIONS

       As used herein, the terms listed below are defined as follows:

1.     The term "Document" as used herein shall be given a very broad definition to include

every type of paper, writing, data, record, graphic, drawing, photograph, audio recording and

video recording. The term includes material in all forms, including printed, written, recorded, or

other. The term includes all files, records and data contained in any computer system,

computer component and/or computer storage (e.g., hard drive, disc, magnetic tape, backup

system, etc.). This term includes, but is not limited to, correspondence, reports, meeting

minutes, memoranda, stenographic or handwritten notes, diaries, notebooks, account books,

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orders, invoices, statements, bills, checks, vouchers, purchase orders, studies, surveys, charts,

maps, analyses, publications, books, pamphlets, periodicals, catalogues, brochures, schedules,

circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-mail attachments, data

sheets, work sheets, statistical compilations, data processing cards, microfilms, computer

records (including printouts, disks or other magnetic storage media), tapes, photographs

(positive or negative prints), drawings, films, videotapes, hard drive recordings, pictures, and

voice recordings. Plaintiff expressly intends for the term "Document" to include every copy of

such writing, etc. when such copy contains any commentary or notation whatsoever that does

not appear on the original and any attachments or exhibits to the requested document or any

other documents referred to in the requested document or incorporated by reference.

2.     "Person" means any natural person, corporation, partnership, proprietorship,

association, organization, group of persons, or any governmental body or subdivision thereof.

3.      (a)    "Identify" with respect to any "person" or any reference to stating the "Identity"

of any "person" means to provide the name, home address, telephone number, business name,

business address, and business telephone number of such person, and a description of each

such person's connection with the events in question.

       (b)     "Identify" with respect to any "document" or any reference to stating the

"Identification" of any "document" means to provide the title and date of each such document,

the name and address of the party or parties responsible for the preparation of each such

document, the name and address of the party who requested or required the preparation of the

document or on whose behalf it was prepared, the name and address of the recipient or

recipients of each such document, and the names and addresses of any and all persons who

have custody or control of each such document, or copies thereof.

4.     "Subject Collision" means the collision described in the Complaint.

5.     “You”, “Your”, or “Harvill” means Defendant Driver QUINCY BERNARD HARVILL.

6.     “Horizon Midwest” means Defendant HORIZON MIDWEST INC.

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7.      “Horizon Freight” means Defendant HORIZON FREIGHT SYSTEM INC.

8.      “Similar" shall have the meaning given in the American Heritage Dictionary, which is

"showing some resemblance; related in appearance or nature; alike but not identical." As used

here, the word "similar" shall not be limited as if modified by the word "substantially" and shall

not mean "the same". If you limit the information provided because you use another

interpretation of the word "similar," please state the interpretation you are using and reveal the

nature of the information withheld.

9.       The terms “and” as well as “or” shall be each construed conjunctively and disjunctively

as necessary to bring within the scope of each interrogatory and request for documents all

information and documents that might otherwise be construed to be outside its scope. The term

“and/or” shall be construed likewise.

10.      Whenever necessary to bring within the scope of an interrogatory or request for

production of documents any information or document that might otherwise be construed to be

outside its scope: (i) the use of a verb in any tense shall be construed as the use of the verb in

all other tenses; (ii) the use of the singular shall be construed as the use of the plural and vice

versa; and (iii) “any” includes “all,” and “all” includes “any.”

11.      With regard to any term used herein that is deemed by the responding party as being

ambiguous or vague, a term shall be construed in its broadest sense to encompass all

reasonable definitions of that term.




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                                      INTERROGATORIES

                                YOUR BACKGROUND INFORMATION

                                                  1.

       State your full name, address, date and place of birth, and social security number. If you

have ever been known by any name(s) other than the one you identify, please state each such

name and for each such name explain when you were known by that name, whether you had a

separate social security number and/or driver’s license in that name, and explain why you

changed names or went by more than one name.

                                                  2.

       For each driver’s license you have had in the past seven (7) years, identify the state of

issue, the date of issue, the number and whether or not it was a commercial driver’s license.

                                                  3.

       Identify each address where you have lived in the past ten (10) years and provide the

dates when you lived at each address.

                                                  4.

       For each place you have worked (as an employee, independent contractor, leased

driver, or otherwise) in the past fifteen (15) years, provide the following information: name of

entity or person, for whom you worked; address; dates you worked there; job position;

supervisor’s name; and the reason you left.

                                                  5.

       Identify each person you expect to call as an expert witness at trial including in your

response a summary of each opinion the expert holds in regards to this case, the factual basis

for each such opinion, a list of all documents and evidence of any kind provided to the expert for

review and a list of all documents and evidence of any kind that support each opinion.

                                                  6.

       Identify all motor vehicle collisions that you have been involved in during the past fifteen

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(15) years and for each collision, describe what happened; where the collision occurred; the

names of the other individuals involved; who was at fault; and whether there were any injuries.

                                                     7.

        If you have been arrested, charged, warned and/or cited for any violation of any ordinance,

law and/or regulation in the past ten (10) years or if you have ever been convicted at any time of a

felony, for each arrest/charge/warning/citation/conviction, identify the charge, jurisdiction, date, and

disposition. This includes all traffic violations, licensing violations, vehicle and/or driver inspection

violations, and all violations of any criminal code and law.

                                                     8.

        If you have ever been disqualified from driving a motor vehicle, please describe when

and under what circumstances you were disqualified.

                                                     9.

        Have you had any medical condition in the past five (5) years that could affect your

ability to operate a motor vehicle (including without limitation any condition affecting vision,

hearing, high or low blood pressure, epilepsy, sleep issues, diabetes, nervous system issues,

endocrine system issues, motor skill issues, issues with sensory abilities, sleep apnea, etc.)? If

so, describe in detail each condition, who has treated you for the condition, and the nature and

dates of these treatments.

                                                     10.

        Have you ever been involved in any lawsuit other than the present one (excluding

domestic cases)? If so, explain whether you were a Plaintiff, defendant, or witness and identify

the style, jurisdiction, date, and nature of the lawsuit.

                                                     11.

        Identify all training you have received in connection with operating a commercial motor

vehicle, including courses taken to obtain your driver’s license and training received since

obtaining your driver’s license.

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                                             INSURANCE

                                                   12.

        For each liability insurance policy of any kind that does or may provide any coverage on

behalf of any defendant (whether it is your policy or anyone else’s policy) for damages/injuries

alleged in this case and/or that is providing you a defense, provide: name of insurer; policy

number; limits of coverage; the name(s) of all insureds; and state whether any insurer has

offered a defense under a reservation of rights or otherwise contested coverage for the subject

case.

                                        SUBJECT COLLISION

                                                   13.

        Have you communicated with any person (other than your attorneys) in any way

regarding the Subject Collision at any time including but not limited to giving any prepared

statement or account of the events? If so, provide the details of any such communications,

statements and accounts by explaining when, where, in what form, to whom the statement or

account was given and the substance of your communication, statement, or account.

                                                   14.

        Identify all person(s) who you to your knowledge have or may have any personal

knowledge or information regarding: the Subject Collision; the facts leading up to the Subject

Collision; the investigation of the Subject Collision; any party to this action; any vehicles

involved in the Subject Collision or; and/or any other incidents, claims, or defenses raised in this

action. The purpose of this interrogatory is to identify all witnesses you believe may have

relevant testimony of any kind in connection with this case.

                                                   15.

        If you maintain that either PLAINTIFFS or anyone else not a party to this lawsuit has any

responsibility of any kind for causing the Subject Collision, and/or for causing any of the

damages alleged in Plaintiffs’ Complaint, describe in detail the basis for their responsibility and

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identify all person(s) who have any knowledge regarding this issue.

                                                   16.

       If you consumed any alcoholic beverage, sedative, tranquilizer, stimulant, and/or other

prescription and/or over-the-counter drug or medicine (whether legal or not) during the seventy-

two (72) hour period immediately before the Subject Collision, identify the substance consumed,

the amount consumed, the time and place of consumption and the purpose for the consumption.

                                          MISCELLANEOUS

                                                   17.

       Provide your mobile phone carrier(s) and mobile phone number(s) existing at the time of

the Subject Collision, and with respect to all of the phone calls you made on your cell phone on

the date of the Subject Collision, please state: the time each call was placed; the time each call

ended; the person or persons with whom you spoke on each call; the phone number of the

person or persons with whom you spoke with on each call; the purpose for each call; and

whether you were operating the tractor-trailer involved in the Subject Collision at any time during

each call.

                                                   18.

       With respect to the deliveries/trips that you were scheduled to make on the day of the

Subject Collision, please identify: the name and address of the delivery/trip location(s); what was

to be delivered; and the time the load was to be delivered or the trip was to be completed.

                                                   19.

       Explain in detail where you were and what you were doing during the seventy-two (72)

hours immediately prior to and the forty-eight (48) hours immediately following the Subject

Collision. This response should include the time and location of each pick up, delivery and stop and

the reason for each stop (e.g., load, unload, fuel, rest, meal, inspection, repair, other) as well as

what you were doing when off duty. Identify all documents that evidence your response and all

people who can substantiate your response.

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                                                   20.

       For the seventy-two (72) hours leading up to the Subject Collision, provide the amount of

your driving hours, on-duty non-driving hours, locations during your on-duty non-driving hours,

all stops you made and the reasons therefor, when and where your meals were eaten, when

and where you slept and when you ingested any medications (prescription or over the counter)

and the dosages.

                                                   21.

       For each of Plaintiffs’ First Request for Admissions addressed to you that you did not

admit without qualification, explain in detail the reason for your refusal to admit and identify all

persons and documents that support your response.




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                                     DOCUMENT REQUESTS

                                                GENERAL

REQUEST NO. 1:         All documents utilized by you in any way in responding to Plaintiffs’ First

Interrogatories to Defendant Quincy Bernard Harvill.

REQUEST NO. 2:         Each liability insurance policy (and declarations page for each policy) that

provides or may provide coverage for damages sustained in the Subject Collision and/or if

coverage was in dispute that was in place at the time of the Subject Collision.

REQUEST NO. 3:         A copy of each automobile insurance policy that you had in place at the

time of the Subject Collision, which provided liability coverage for the operation of the tractor-

trailer that was involved in the Subject Collision.

REQUEST NO. 4:          All documents that you have exchanged with any insurance company

evidencing the subject collision.

REQUEST NO. 5:         All documents that you have exchanged with any insurance company

evidencing a lack of coverage for the Subject Collision.

REQUEST NO. 6:         All reservation of rights letters and/or agreements regarding insurance

coverage for the claims asserted against you arising from the Subject Collision.

REQUEST NO. 7:         All documents directly or indirectly provided to and received from any

insurance company regarding your driving history, criminal history, claims history, training, and

qualification to drive and/or your insurability for motor vehicle operations.

REQUEST NO. 8:         All documents and driver training resources provided or made available to

you directly or indirectly by any insurance company.

                                DEFENDANT HORIZON MIDWEST INC

REQUEST NO. 9:          All documents setting forth the relationship between you and Horizon

Midwest. This includes, but is not limited to, all leases, employment contracts, and independent

contract agreements and other contracts, agreements, memorandum and the like.

REQUEST NO. 10:        All payroll records from any source during the sixty (60) days before and

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after the Subject Collision.

REQUEST NO. 11:        All documents in your possession that relate to your qualification to

operate a commercial motor vehicle.

REQUEST NO. 12:        All documents that relate in any way to your training to operate a

commercial motor vehicle.

REQUEST NO. 13:        A copy of the front and back of every driver’s license issued to you

(regardless of name used) in your possession, custody, and/or control.

REQUEST NO. 14:        Copies of all citations, warnings, and other documents alleging that you

violated any law, ordinance, and/or regulation in the last five (5) years.

REQUEST NO. 15:        All documents of any kind that relate to any action (formal or informal) by

any supervisor or manager or anyone working by or on behalf of Horizon Midwest directed to

you for the purpose of teaching, counseling, disciplining, correcting, or otherwise managing you

in any way relating to the safe operation of a commercial vehicle.

REQUEST NO. 16:        All documents relating in any way to any motor vehicle collision and/or

accident of any kind in which you were involved in the past five (5) years.

REQUEST NO. 17:        All documents relating to any complaint, criticism, or concern raised by

any person or entity regarding your driving performance and/or safety. This should include, but

is not limited to, customer complaints and call-ins by motorists either to a company directly or to

any service (i.e., How’s My Driving? Call 800…).

REQUEST NO. 18:        For each communication device (e.g., cell phones, PDAs, smartphones,

texting and e-mailing devices, etc.) that was in the truck that you were operating at the time of

the Subject Collision, produce all documents reflecting usage and billing for the time period time

period beginning twenty-four (24) hours before the Subject Collision and ending twenty-four (24)

hours after the Subject Collision. This includes all devices, whether owned by you or not, and

whether it was in use at the time of the Subject Collision or not.



PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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REQUEST NO. 19:        All of your personnel files and employment-related files in your

possession.

REQUEST NO. 20:        All correspondence and other communication of any kind between you

and any third party (other than your attorneys) evidencing to the Subject Collision.

                               DEFENDANT HORIZON FREIGHT SYSTEM INC

REQUEST NO. 21:         All documents setting forth the relationship between you and Horizon

Freight. This includes, but is not limited to, all leases, employment contracts, and independent

contract agreements and other contracts, agreements, memorandum and the like.

REQUEST NO. 22:        All payroll records from any source during the sixty (60) days before and

after the Subject Collision.

REQUEST NO. 23:        All documents in your possession that relate to your qualification to

operate a commercial motor vehicle.

REQUEST NO. 24:        All documents that relate in any way to your training to operate a

commercial motor vehicle.

REQUEST NO. 25:        A copy of the front and back of every driver’s license issued to you

(regardless of name used) in your possession, custody, and/or control.

REQUEST NO. 26:        Copies of all citations, warnings, and other documents alleging that you

violated any law, ordinance, and/or regulation in the last five (5) years.

REQUEST NO. 27:        All documents of any kind that relate to any action (formal or informal) by

any supervisor or manager or anyone working by or on behalf of Horizon Freight directed to you

for the purpose of teaching, counseling, disciplining, correcting, or otherwise managing you in

any way relating to the safe operation of a commercial vehicle.

REQUEST NO. 28:        All documents relating in any way to any motor vehicle collision and/or

accident of any kind in which you were involved in the past five (5) years.

REQUEST NO. 29:        All documents relating to any complaint, criticism, or concern raised by

any person or entity regarding your driving performance and/or safety. This should include, but

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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is not limited to, customer complaints and call-ins by motorists either to a company directly or to

any service (i.e., How’s My Driving? Call 800…).

REQUEST NO. 30:        For each communication device (e.g., cell phones, PDAs, smartphones,

texting and e-mailing devices, etc.) that was in the truck that you were operating at the time of

the Subject Collision, produce all documents reflecting usage and billing for the time period time

period beginning twenty-four (24) hours before the Subject Collision and ending twenty-four (24)

hours after the Subject Collision. This includes all devices, whether owned by you or not, and

whether it was in use at the time of the Subject Collision or not.

REQUEST NO. 31:        All of your personnel files and employment-related files in your

possession.

REQUEST NO. 32:        All correspondence and other communication of any kind between you

and any third party (other than your attorneys) evidencing to the Subject Collision.

                                        SUBJECT COLLISION

REQUEST NO. 33:        All documents in your possession, custody, and/or control relating in any

way to the Subject Collision.

REQUEST NO. 34:        All documents sent by you to any person or entity (other than your

attorneys), regarding the Subject Collision and/or describing the Subject Collision.

REQUEST NO. 35:        All documents evidencing each investigation done by or on behalf of

defendants evidencing to the Subject Collision of the Subject Collision.

REQUEST NO. 36:        All documents that set forth any facts leading up to the Subject Collision.

REQUEST NO. 37:        All documents that explain what caused the Subject Collision.

REQUEST NO. 38:        All documents assessing preventability of and/or fault for the Subject

Collision, as well as any documents created by any accident review board or other accident

review process.

REQUEST NO. 39:        All photographs, video, computer simulations, and any other documents

depicting:

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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        a.        Any vehicle involved in the Subject Collision;

        b.        Any person involved in the Subject Collision;

        c.        The scene of the Subject Collision; and/or

        d.        Any evidence (roadway markings or other) relevant to the Subject Collision.

REQUEST NO. 40:          All reports relating to the Subject Collision in your possession, custody,

and/or control.

REQUEST NO. 41:          All correspondence and other communications (including e-mail) that you

have had with any person other than your lawyers involving the Subject Collision.

REQUEST NO. 42:          All tapes and transcripts of conversations, interviews, statements, etc. of

any witness, party, or any other entity whatsoever regarding any aspect of the Subject Collision,

the injuries or damages resulting therefrom, or this lawsuit.

                             GOVERNMENTAL CONTACT AND INTERVENTION

REQUEST NO. 43:          Copies of all documents sent to or received from any governmental

agency regarding the Subject Collision and/or your operation of a commercial motor vehicle

within the past three (3) years.

                                      POLICIES AND PROCEDURES

REQUEST NO. 44:          All handbooks and manuals provided to you by Horizon Midwest that

were in effect at the time of the Subject Collision.

REQUEST NO. 45:          All handbooks and manuals provided to you by Horizon Freight that were

in effect at the time of the Subject Collision.

REQUEST NO. 46:          All policies, procedures, rules, guidelines, directives, and instructions ever

given to you by Horizon Midwest.

REQUEST NO. 47:          All policies, procedures, rules, guidelines, directives, and instructions ever

given to you by Horizon Freight.

                                           MISCELLANEOUS

REQUEST NO. 48:          All documents and other materials which support any contention that the

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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Subject Collision was the fault of anyone other than the defendants.

REQUEST NO. 49:          All diagrams, graphs, illustrations, photographs, charts, pictures, models,

blow-ups, or any other document or thing, including electronically created charts, animations, or

data that you intend to utilize as an exhibit, demonstrative exhibit, or aid in the trial of this case

not previously supplied.

REQUEST NO. 50:          All documents and things that you contend evidence, prove, and/or

support your claims on any issue of negligence or causation as to the Subject Collision,

including, but not limited to, admissions of fault, engineering analysis, scientific tests, and official

or unofficial reports.

REQUEST NO. 51:          If any surveillance has been undertaken by or on behalf of you, produce a

copy of all reports, photographs, video, and anything else generated through that investigation.




PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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                                     REQUESTS FOR ADMISSION

REQUEST NO. 1          Harvill is a proper party to this lawsuit.

REQUEST NO. 2          Harvill was properly named in this case.

REQUEST NO. 3          Harvill was properly and sufficiently served with process in this civil

action.

REQUEST NO. 4          Venue is proper in this Court as to you.

REQUEST NO. 5          Jurisdiction is proper in this Court as to Harvill.

REQUEST NO. 6          You are not asserting the defense of insufficiency of service of process.

REQUEST NO. 7          You are not asserting the defense of improper service of process.

REQUEST NO. 8          Harvill was an employee of Horizon Freight at the time of the Subject

Collision.

REQUEST NO. 9          Harvill was an agent of Horizon Freight at the time of the Subject Collision.

REQUEST NO. 10         Harvill was acting within the scope of his employment with Horizon

Freight at the time of the Subject Collision.

REQUEST NO. 11         Harvill was acting within the scope of his agency with Horizon Freight at

the time of the Subject Collision.

REQUEST NO. 12         Harvill was an employee of Horizon Midwest at the time of the Subject

Collision.

REQUEST NO. 13         Harvill was an agent of Horizon Midwest at the time of the Subject

Collision.

REQUEST NO. 14         Harvill was acting within the scope of his employment with Horizon

Midwest at the time of the Subject Collision.

REQUEST NO. 15         Harvill was acting within the scope of his agency with Horizon Midwest at

the time of the Subject Collision.

REQUEST NO. 16         Admit that you were the driver of the truck that collided with Plaintiffs’

vehicle on or about January 23, 2020.

PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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REQUEST NO. 17          Admit that you were following too closely behind Plaintiffs’ vehicle.

REQUEST NO. 18          Harvill failed to maintain proper control of his truck at the time of the

Subject Collision.

REQUEST NO. 19          At the time of the Subject Collision, Harvill failed to keep and maintain a

proper look out for traffic.

REQUEST NO. 20          Harvill was not paying attention to traffic like he should have been.

REQUEST NO. 21          At the time of the Subject Collision, Harvill did not see Plaintiffs’ vehicle in

front of him.

REQUEST NO. 22          Harvill gave a recorded statement to one (1) or more insurance

companies that provided liability coverage for the truck that Harvill was driving at the time of the

Subject Collision.

REQUEST NO. 23          Harvill had a mobile cellular device present inside his vehicle at the time

of the Subject Collision.

REQUEST NO. 24          Harvill had more than one (1) mobile cellular device was present inside

his truck at the time of the Subject Collision.

REQUEST NO. 25          Harvill was using at least one (1) mobile cellular device in his truck at the

time of the Subject Collision.

REQUEST NO. 26          Harvill was using more than one (1) mobile cellular device inside his truck

at the time of the Subject Collision.

REQUEST NO. 27          Harvill was using a mobile cellular device at the moment of impact with

Plaintiff’s vehicle.

REQUEST NO. 28          While at the scene of the collision, Harvill conversed with at least one (1)

person about what happened before, during, and/or after the Subject Collision using a mobile

cellular device.




PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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REQUEST NO. 29        While at the scene of the collision, Harvill texted at least one (1) person

about what had happened before, during, and/or after the Subject Collision using a mobile

cellular device.

REQUEST NO. 30        While at the scene of the collision, Harvill had a cellular mobile device or

a camera that he could have used to take pictures of the scene of the Subject Collision, the

vehicles involved, and/or the persons involved.

REQUEST NO. 31        While at the scene of the collision, Harvill took at least one (1) photograph

of the scene of the Subject Collision, the vehicles involved, and/or the persons involved using a

mobile cellular device.

REQUEST NO. 32        While at the scene of the collision, Harvill took video recording(s) using a

mobile cellular device of the scene of the Subject Collision, the vehicles involved, and/or the

persons involved.

REQUEST NO. 33        While at the scene of the collision, Harvill took audio recording(s) of the

scene of the Subject Collision, the vehicles involved, and/or the persons involved using a mobile

cellular device.

REQUEST NO. 34        No improper act of the Plaintiffs caused or contributed to the cause of the

Subject Collision.

REQUEST NO. 35        No failure to act by Plaintiffs caused or contributed to the cause of

Subject Collision.

REQUEST NO. 36        No improper act or failure to act on the part of any third party to this action

caused or contributed to the cause of the Subject Collision.

REQUEST NO. 37        Harvill’s neglect acts and/or omissions were the sole cause of the Subject

Collision.

REQUEST NO. 38        Harvill’s neglect acts and/or omissions were a contributing cause of the

Subject Collision.



PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
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REQUEST NO. 39           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the five hundred (500) feet prior to

the Subject Collision.

REQUEST NO. 40           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the seven hundred fifty (750) feet

prior to the Subject Collision.

REQUEST NO. 41           No visual obstructions existed leading up to the Subject Collision that

would have prevented Harvill from seeing Plaintiffs’ vehicle in the one thousand (1000) feet prior

to the Subject Collision.


       Dated this 26th day of April, 2021.


                                               WITHERITE LAW GROUP, LLC


                                               /s/ J. Martin Futrell
                                               J. MARTIN FUTRELL
                                               GEORGIA STATE BAR NUMBER 450872
                                               ATTORNEY FOR PLAINTIFFS

600 WEST PEACHTREE STREET, NW, SUITE 740
ATLANTA, GA 30308
TELEPHONE: 470-881-8806
FACSIMILE:   470-880-5095
E-MAIL:      MARTIN.FUTRELL@WITHERITELAW.COM




PLAINTIFFS’ FIRST INTERROGATORIES, FIRST REQUEST FOR PRODUCTION OF DOCUMENTS,
AND FIRST REQUEST FOR ADMISSIONS TO DEFENDANT QUINCY BERNARD HARVILL – Page 18
                                                                                                                     State Court of Fulton County
                    Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 94 of 110                                                  **E-FILED**
                                                                                                                                      21EV002534
GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE       4/26/2021 1:18 PM
                                                                                                                       Christopher G. Scott, Clerk
                                                                                                                                     Civil Division
STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: ___________________________
                 Civil Division



Lynden Hepburn and Rhonda Hepburn                                           TYPE OF SUIT                               AMOUNT OF SUIT
c/o Witherite Law Group, LLC
_____________________________________                                         [ ] ACCOUNT                   PRINCIPAL $_____________
600 West Peachtree Street, NW, Suite 740
_____________________________________                                         [ ] CONTRACT
Atlanta, GA 30308                                                             [ ] NOTE                      INTEREST $______________
_____________________________________                                         [ ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY          ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                         vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                              [ ] SPECIAL LIEN
Old Republic Insurance Company c/o Registered                                                      ************
Agent The Prentice-Hall Corporation System
_____________________________________                                         [ ] NEW FILING
40 Technology Parkway South, Suite 300
_____________________________________                                         [ ] RE-FILING: PREVIOUS CASE NO. ___________________

Norcross, GA, 30092
_____________________________________
Defendant’s Name, Address, City, State, Zip Code

             SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
      J. Martin Futrell
Name: ______________________________________________
         600 West Peachtree Street, NW, Suite
Address: ____________________________________________                  740
                       Atlanta, GA 30308
City, State, Zip Code: __________________________________________________                              (470) 881-8806
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                            Christopher G. Scott, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                                  DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
                                                                                                                     State Court of Fulton County
                    Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 95 of 110                                                  **E-FILED**
                                                                                                                                      21EV002534
GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE       4/26/2021 1:18 PM
                                                                                                                       Christopher G. Scott, Clerk
                                                                                                                                     Civil Division
STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: ___________________________
                 Civil Division



Lynden Hepburn and Rhonda Hepburn                                           TYPE OF SUIT                               AMOUNT OF SUIT
c/o Witherite Law Group, LLC
_____________________________________                                         [ ] ACCOUNT                   PRINCIPAL $_____________
600 West Peachtree Street, NW, Suite 740
_____________________________________                                         [ ] CONTRACT
Atlanta, GA 30308                                                             [ ] NOTE                      INTEREST $______________
_____________________________________                                         [ ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY          ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                         vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
Quincy Bernard Harvill
_____________________________________                                         [ ] NEW FILING
2515 Martin Circle
_____________________________________                                         [ ] RE-FILING: PREVIOUS CASE NO. ___________________

Birmingham, AL 35235
_____________________________________
Defendant’s Name, Address, City, State, Zip Code

             SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
      J. Martin Futrell
Name: ______________________________________________
         600 West Peachtree Street, NW, Suite
Address: ____________________________________________                  740
                       Atlanta, GA 30308
City, State, Zip Code: __________________________________________________                              (470) 881-8806
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                            Christopher G. Scott, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                                  DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
                                                                                                                                                State Court of Fulton County
                          Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 96 of 110                                                                       **E-FILED**
                                                                                                                                                                 21EV002534
                                                                                                                                                          4/28/2021 3:09 PM
                                                                              AFFIDAVIT OF SERVICE                                               Christopher G. Scott, Clerk
                                                                                                                                                                Civil Division
  Case:                 ICourt:
                          Fulton County State Court State of Georgia
                                                                                                   County:
                                                                                                   Fulton
                                                                                                                                      IJob:
                                                                                                                                       5609433
  21EV002534
  Plaintiff/ Petitioner:                                                                           Defendant/Respondent
  Lynden Hepburn, And Rhonda Hepburn                                                               Horizon Midwest Inc, Horizon Freight System Inc, Quincy Bernard
                                                                                                   Harvill, And Old Republic Insurance Company

  Received by:                                                                                     For:
  Chilton Gibbs and Associates. LLC                                                                Witherite Law Group, LLC

  To be served upon:
   Horizon Freight System Inc do National Resident Agent Service Inc, Registered Agent

I, Thomas David Gibbs Ill, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within
the boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said
person of the contents herein

Recipient Name/ Address:              David Lee Cates, National Resident Agent Service, Inc: 2300 Henderson Mill Rd Suite 330, Atlanta, GA 30345-
                                      0002
Manner of Service:                    Registered Agent, Apr 27, 2021, 1:36 pm EDT
Documents:                            Summons, Complaint for Damages, Plaintiffs' First Interrogatories, First Request For Production Of
                                      Documents, And First Request For Admissions To Defendant Horizon Freight System Inc (Received Apr 26,
                                      2021 at 3:46pm        EDD

Additional Comments:
1) Successful Attempt: Apr 27, 2021, 1:36 pm EDT at National Resident Agent Service, Inc: 2300 Henderson Mill Rd Suite 330, Atlanta, GA
30345-0002 received by David Lee Cates. Age: 60-65; Ethnicity: Caucasian; Gender: Male; Weight: 185; Height 5'10"; Hair. Gray;

~                                                                                                   Subscribed and sworn ID before me by the affiant who Is

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723 Main Street                                                 :: :                     If), •,    o•                       Commission Expires
Stone Mountain, GA 30083
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                  Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 97 of 110



                                              IN THE STATE COURT OF FULTON COUNTY

                                                         STATE OF GEORGIA

                                                                                 Administrative Order tt:      2( Ef O Oooo z.
                                     IN RE: ORDER FOR APPOINTMENT FOR SERVICE OF PROCESS                                        ....
ll appearing that the State Court of Fulton County has read and considered petitions
                                                                                     and cri
                                                                                                       ~-r- r
                                                                                                       ~·t: ~.
below, and  the same having met certification requirements, this Court hereby allows the sa            t          proces\
proceedings,
                                                                                                               l~~ \\ \
IT IS HEREBY ORDERED chat the following persons:
                                     ELLIOTT, MAURICE                     KAHSSU, HAILE TANKEY
                                                                                                            uf'ff
                                                                                                            j_\.i'.:
                                                                                                                           cQ
                                                                                                                             RS, SHAKILLA TERIA
ABRAHAM, ROBYN L
                                     FARKAS, llELA                        KIOD, ELIZABETH A.                       SAXON, JASMINE N.
ALLEN, lAKEITA TYESHA
                                     FAULKENER, DANA VANESSE              KING.AMOS                                SAXON, RASHAD l.
ANDE"RSON, WILLIAM JAMES
                                                                          KIRKLAND, SHIRLEY PATRICIA               SAXON, ROBIN L
ANDREWS II., GENE EDWARD             FAZZIO, DEDREA l.
                                     FERRERO, AMY LYNN                    KOTLAR, MIOIAfl JOHN                         SAXON-FORD, VIRGINIA l.
AQUIRRE, ANTUAN SAUL
                                                                          LAUSMAN, MARSHA CAROLINE                     SEKLECKI, CHRISTIAN GANTT
ARMSTRONG, CHRISTOPH~J.              FISHER, DAWN WALLS
                                                                          LffiS, WILLIAM EARL                          SHEPHERD, ELIZABETH A.
BAILEY, ANNA MARIE                   FITZGERALD,FLORETTA
                                                                          LEWIS, KEVIN J.                          SlBBAlO, JOHN WILLIAMS
BARNEY JR., STEVEN MICHAEL           FOLDS, CATHERINA PILAR
                                                                          LOUIS, CLYDE A.                          SINGLETON, WESLEY GENE
BARRON. SHANE WILLIS                 FOLDS,GEORGElARRY
                                                                          LUTWACK, WU.LIAM ORO                     SMITH JR., BRUCE RICHARD
BARRY, PAUL EDWIN                    FORD, RONNIE
                                                                          MAGGARD, ANDREW M.                       SMITH. OELACIE
BASHAM, JAMES STEVEN                 FOX, JUHANI ALLEN
                                                                          MALI.AS, NIOiOlAS ANDREW                 SMITH, RONALD L
BENITO, RICHARD DAVID                FREESE, JESSICA RENEE
                                                                          MCCLELLAN, RODNEY J.                     SMITH, VIRGINIAELIZABETH CHARLES
BOLLING, l<ATHERINE DEVORE           FULLER. THOMAS WAYNE
                                                                          MCGAHEE, lARRY LOUIS                     SNELLINGS, SHARON EIAINE
BRAZfMAN, CRAIG PHILIP               GALVIN. ELIZABETH MARY
                                                                          MCMILWN, ERICKA DANIEi.LC                SPEARS, JOYE L
BRIL1GES, KAYLA DENISF.              GAYLE, EARL WINSTON
                                                                          MITCHELi., KEVIN JOSEPH                  STANTON, CHRISTOPHER SCOTT
BRILEY, OONNlf C:.                   GELVIN, TAMMY ANITA
                                                                          MORGAN, TODD VERNELL                     STEWART, RONNIE NORRIS
BRYANT, SHEMIKA ROCHELLE             GEORGE, RANDAL I.H
                                                                          MORRISON, zum MCEADY                     STINYARD, KELVIN
BUNCH.KIM                            GIBBS Ill.. THOMAS DAVID
                                                                          MOTT, CYNTI➔IA                           STONE, ALESIA ANDREA
SYER, EOMONO JOHN                    GILES, HERBERT FREOERICIC
                                                                                                                   STONE, ROONEY DAVID
CARITHERS, GREGORY ALLEN             GREEN, ANJENAI G.                    MUHAMMAD. AZIZAH
                                     GREENWAY, KIMBERLY BEHELER           MURPHY JR., GREGORY BERNARD              SWINDLE, FRANK LfE
CHILDRESS, CLIFTON
                                                                          MURRAH, JUANQUALO DEMON                  SWINGER, INA LYNN
CLEMMONS, JOYCE YVONNE               GRIMSHAW. SHANE KELLEE
                                                                                                                   TASSAW, 81:RHANE 8.
CUN€, TRAVIS DANIEL                  HANDLEY, WILEY 0.                    NICHOLS, JEAN GRINWIS
                                                                          NICHOLS, lATHAN OTTO                     THOMPSON, VANESSA
(OCliMNF.. 8A8EHE DAWN               HARRIS, PARKS WAYNf
                                                                          NOLEN, MILTON LEE                        THRASH, NANCY M.
COlU£R, WII.Ll,4M I\IIICHAH          HA5SAN, MUHSIN SHAHID
                                                                                                                   TORT. HENRY
COOK, CHRIS LAMAR                    HASSAN, MUHSIN SHAHID                O'LEARY, CHRISTINE I.OUISE
                                                                          PANNELL, NICOLE D.                       TROY, DOUGLAS ADAM
CUNNINGHAM, S..6,LLY K.              HEIMERICH JR., RICHARD PAUL
                                                                                                                   TURNER, TRAVIS DAVON
DALMAN. JONATHAN BRADFORD            HIGHSMITH, AMOS MATTHEW              PANNEU. NICOLE 0.
                                     HIGHTOWER, ANTHONIO EDWARD           PARKER, ADAM DEAN                            VELASQUEZ, JULIUS 0.
DAMBACH-CIRKO, PATRICIA JOYCE
                                     Hill, HOLLIS JEROME                  PARKER, ATARI L                          WALKER WHISBV. KATARI\ Y.
DANIELS, SONIA LYNN
                                     HINDSMAN, CHERROO TtR-RAY            PERLSoN, MARC DAMON                      WASHINGTON. SABRINA ANEATHA
D,WENPORT, ALTERIO< SHEREFF
                                                                          RANSOME, MAURICE                         WATT, ROOSEVELT
DAVIDSON. DANNY DOUGlAS              HINES, JAMES WILLIAM
                                                                                                                   WEBBER, MELINA MARY
OAVIOSON, Mll'CHEll THOMAS           HORTON, CHRISTOPHER TOOO             RAUSER, JAYNE E.
                                                                          RECKERSOREES, THOMAS NMN                 WEEKS, FRANCES MARIAN
DAY. DUANE DAVIDSON                  HUDSON, HAKIMAH                                                                                                  ;
                                                                                                                   WEST, ERIC NOEL                    ·1
DERRICHO JR., DAVID EMANUEL          HUDSON, KYLE                         REDDICK, DEREK LAMAR
DEVAUGHN, CARL LINTON
DOLBIER, JEFFERY ALAN
                                     HUGULEY.CK AOONNI
                                     HUMPHREY, JOVIERA Y.
                                     IRVINE, XI.WIER ANTOINE
                                                                          RICHARDSON, LEROY ANTHONY
                                                                          RIVERS, MICHAEL mOMAS
                                                                          ROBINSON, JEROV
                                                                                                                   WILLIAMS, JACK LELAND R.
                                                                                                                   WILLIAMS, LAVERN
                                                                                                                   WINKELMAN, NAN LANGFORD
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OREEMAN, OOUGIAS E.                                                                                                                                   I
                                                                          RUDDOCK, MARGARET A.                     WOLFE, LISE l YNN
EARTHRISE, ROCHELLE DENISE           JAMES, FRI\NIC HUGH
                                                                                                                   WfUGHT, CHRISTOPHER K.
                                     JENKINS, STEPHANIE DENISE            RUlliDGE. RONALD WILLIAM
ECHOLS. ERIC DWIGHT
                                                                                                                       2AYAS.R08ERTO
l:.CHOl5, PATRICIA !ZETTA            JOHNSON, EARL C.                     SADLER JR., JOHN THURSl"ON

                                                                                      year of 2021, without the necessity of an
be ;:ippointed and authorized to serve as Permanen t Process Servers for the calendar
order for appointme nt in each Individual case.                    (:.:·)VU£UL. (-:· /-.J_g -
50 ORDERED, this     /        day ofJanuary, 2021.
                                                                                c tc~3
                                                                 Chief Judge Susan Edlein, Fulton County State ~rt
                                                                                                                                State Court of Fulton County
                     Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 98 of 110                                                            **E-FILED**
                                                                                                                                                 21EV002534
                                                                                                                                          4/28/2021 3:09 PM
                                                               AFFIDAVIT OF SERVICE                                              Christopher G. Scott, Clerk
                                                                                                                                                Civil Division
 Case:
 21EV002534
                 j   Court
                     Fulton County State Court State of Georgia
                                                                                    County:
                                                                                    Fulton
                                                                                                                      I Job:
                                                                                                                        5609433
  Plaintiff/ Petitioner:                                                            Defendant/ Respondent
 Lynden Hepburn, And Rhonda Hepburn                                                 Horizon Midwest Inc, Horizon Freight System Inc, Quincy Bernard
                                                                                    Harvill, And Old Republic Insurance Company

 Received by:                                                                       For:
 Chilton Gibbs and Associates, LLC                                                  Witherite Law Group, LLC

 To be served upon:
  Horizon Midwest Jnc/ do National Resident Agent Service, Inc, registered agent

I, Thomas David Gibbs Ill, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within
the boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said
person of the contents herein

Recipient Name/ Address:       David Lee Cates, National Resident Agent Service, Inc: 2300 Henderson Mill Rd Suite 330, Atlanta, GA 30345-
                               0002
Manner of Service:             Registered Agent, Apr 27, 2021, 1:36 pm EDT
Documents:                     Summons, Complaint for Damages, Plaintiffs' First Interrogatories, First Request For Production Of
                               Documents, And First Request For Admissions To Defendant Horizon Midwest Inc, (Received Apr 26, 2021 at
                               3:46pmEDD

Additional Comments:
1) Successful Attempt: Apr 27, 2021, 1 :36 pm EDT at National Resident Agent Service, Inc: 2300 Henderson Mill Rd Suite 330, Atlanta, GA
30345-0002 received by David Lee Cates. Age: 60-65; Ethnicity: Caucasian; Gender. Male; Weight: 185; Height: 5'1 0"; Hair. Gray;

                                                                                     Subscribed and swom to before me by the off/ant who is


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                                             Date                    ,\,111111,,,,---__;~
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Chilton Gibbs and Associates, LLC                       ~~' ...-···········~s-Ji?I
                                                                      ,vtH                                          ,~/i,~/
723 Main Street
Stone Mountain, GA 30083
                                                      f /            NO 1",4~J-"~ ;                         Commission Expires

404-368·3049
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                 Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 99 of 110



                                               IN THE STATE COURT OF FULTON COUNTY

                                                           STATE OF GEORGIA

                                                                                   Administrative Order It:   2I Et O Oooo z
                                      IN RE: ORDER FOR APPOINTMENT FOR SERVICE OF PROCESS

It appearing that the State Court of Fulton County has read and considered petitions and cri
                                                                                                              ~
below, and the same having met certification requirements, this Court hereby allows the sa                       proces\
proceedings,                                                                                                 l~~ \\ '
IT JS HEREBY ORDERED chat the following persons:
                                                                            KAHSSU, HAllE TANKEY
                                                                                                            q\i  -·              LA TERIA
ABRAHAM, ROBYN L                      E!.llOTT. MAURICE
ALLEN, LAKEITA TYESHA                 FARKAS, BELA                          KIDD, ELIZABETH A.                   SAXON, JASMINE N.
ANDERSON, WILLIAM JAMES               FAULKENER, DANA VANESSE               KING.AMOS                            SAXON, RASHAD L.
ANDREWS II., GENE EDWARD              FAZZIO, DEDREA L                      KIRKlAND, SHIRLEY PATRICIA           SAXON, ROBIN L
AQUIRRE, ANTUAN SAUL                  FERRERO, AMY LYNN                     KOTIAR, MICHAEL JOHN                 SAXON•FORO, VIRGINIA l.
ARMSTRONG, CHRISTOPHER J.             FISHER, DAWN WALLS                    LAUSMAN, MARSHA CAROLINE             SEKLECKI, CHRISTIAN GANTT
BAILEY, ANNA MARIE                    FITZGERALD, FLORETTA                  lETTS, WIUIAM EARL                   SHEPHERD, EUZABHH A.
BARNEY JR., STEVEN MICHI\El           FOi.OS, CATHERINA PILAH              LEWIS, KEVIN J.                       SIBBALD, JOHN WILLIAMS
BARRON, SHANI: WILLIS                 FOLDS. GEORGE LARRY                  LOUIS, CLYDE A.                       SINGLETON, WESLEY GENE
                                      FORP. RONNIE                         LUTWACK. WII.UAM CIRO                 SMITli JR., BRUCE RICHARD
8ARRV, PAUL EDWIN
                                      FOX, JUI-IANI .O.lLEN                MAGGARD, ANDREW M.                    SMITH, OElACJE
BASHAM, JAMES STEVEN
BENITO, RICHARD DAVID                 FREESE, JESSICA RENEE                MALLAS, NICHOLAS ANDREW               SMITH, RONALD L.
                                      FULLER, THOMAS WAYNE                 MCCLELLAN, ROONEY J.                  SMITH, VIRGINIAELIZABETH CHARLES
BOLLING, KATHERINE DEVORE
                                      GALVIN, ELIZABETH MARY               MCGAHEE, LARRY LOUIS                  SNElllNGS, SHARON ElAINE
BRAZEMAN, CRAIG PHILIP
                                      GAYLE, EARL WINSTON                  MCMILLON, !:RICKA DANIEi.LE           SPEARS, JOYE L.
BRIDGES, KAYLA DENISE
                                      GELVIN, TAMMY ANITA                  MITCHELL, KEVIN JOSEPH                STANTON, CHRISTOPHER SCOTT
BRILEY. DONNIE C:.
                                      GEORGE, RANDAL l.f.f                 MORGAN, TODD VERNELl                  STEWART, RONNIE NORRIS
BRY/INT, SHEMIKA ROCHELLE
                                      GIBBS HI .• TliOMAS DAVID            MORRISON, ZURI MCEADY                 STINYARD, KELVIN
BUNCH. KIM
                                      GILES, HERBERT FREDERICk                                                   STONE, ALESIA ANDREA
avER. EDMOND JOHN                                                          MOTT, CYNTHIA
                                      GREEN, ANJENAI G.                    MUHAMMAD, AZIZAH                      STONE, RODNEY OAVID
CARITHERS, GREGORY ALLEN
                                      GREENWAY, KIMBERLY BEHELER           MURPHY JR, GREGORY 8ERNARO            SWINDLE, FRANK LEE
CHILDRESS, CLIFTON
                                      GRIMSHAW, SHANE KELLEE               MURRAH, JUANQUALO DEMON               SWINGER, INA LYNN
CLEMMONS, JOYCE YVONNE
                                      HANDLEY, WILEY 0.                    NICHOLS, JEAN GRINWIS                 TASSAW, Bl:RHANE 8,
CLINE, TRAVIS DANIEL
                                     11ARRIS, PARKS WAYNE                  NICHOLS, LATHAN OTTO                  THOMPSON, VANESSA
COCHR/\NE. BABEHE DAWN
                                     HASSAN, MUHSIN SHAHID                 NOLEN, MILTON LEE                     THRASH, NANCY M.
COLLIER. Wlf.UMA MICHAEL
                                     HASSAN, MUHSIN SHAHID                 O'LEARY, CHRISTINE I.OUISE            TORT.HENRY
COOK, CHRIS LAMAR
                                     HEIMERICH JR., RICHARD PAUL           PANNELL, NICOL£ D.                    TROY, OOUGlAS ADAM
CUNNINGHAM, SALLY K.
                                     IIIGliSMITH, AMOS MATTHEW             PANNELL, NICOLE D.                    TURNER, TRAVIS OAVON
DALMAN, JONATHAN BRADFORD
                                     HIGHTOWER. ANTHONIO EDWARD            PARKER, ADAM DEAN                     VELASQUEZ, JULIUS 0.
 DAMBACH-CIRKO, PATRICIA JOYCE
                                      Hill, HOlLISJEROME                   PARKER, ATARI L                       WALKER WI-IISBY, KATARA Y.
 DANIELS, SONIA LYNN
                                      HINDSMAN, CHERROD TER-RAY            PERI.SON, MARC DAMON                  WASHINGTON, SAllRlNA ANEATHA
 D,WENPORT, ALTERICK SHEREFF
                                     HINES, JJ\MES Wlll lAM                RANSOME, MAURICE                      WATT, ROOSEVELT
OIWIDSON, DANNY OOUGlAS
DAVIDSON, MITCHELL THOMAS            HORTON, CHRISTOPHER rooo              RAUSER, JAYNE E.                      WEBBER, MELINA MAR'/
                                     HUDSON, HAKIMAH                       RECKERSOREE5, THOMAS NMN              WEEKS, FRANCES MARIAN
'DAY. DUANE DAVIDSON
                                                                                                                 WEST, ERIC NOEL                    .!
                                     HUDSON, KYLE                          REDDICK, DEREK LAMAR
DERRICHO JR.• DAVID EMANUEL
                                     HUGUlEY,O< ADON NI                    RICHARDSON, lEROY ANTHONY             WILLIAMS, JACK WAND R.             '
DEVAUGHN, CARL LINTON
                                     HUMPHREY, JOVIERA V.                  RIVERS, MICHAEL THOMAS                WILLIAMS, LAVERN
DOLBIER. JEFFERY ALAN
                                     IRVINE, XAVIE~ ANTOINE                ROBINSON, JEROY                       WINKELMAN, NAN LANGFORD
DREEMAN, DOUGLAS E.
                                     JAMES, FRJ\NK HUGH                    RUDDOCK, MARGAAET A.                  WOLFE, USE LYNN
EARTHRISE, ROCHE!l.E DENISE
                                     JENKINS, STEPHANIE DENISE             RUnEDGE, RONALD WILLIAM               WRIGHT, CHRISTOPHER K.
ECHOLS, ERIC DWIGHT
                                     JOt-lNSON, EARL C.                    SADLER 1R., JOtlN THURS'l'ON          ZAYAS, ROBERTO
ECHOLS, PAffilCIAIZHTA


be appointed and authorizP.d to setve as Permanent Process Servers for the calendar year of 2021, without the
                                                                                                              necessity of an
order for appointment In each individual case.               r-· ·-                        c::_· /- / ,,.,11 _
SO OROEREO, this /            day ofJanuary, 2021.                  ·;-:~t(J.£l,U_,.       C 0~3'
                                                                 Chief Judge Susan Edlein, Fulton County State Cii'iirt
                                                                                                                                            State Court of Fulton County
                     Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 100 of 110                                                                       **E-FILED**
                                                                                                                                                             21EV002534
                                                                                                                                                      4/28/2021 3:09 PM
                                                                            AFFIDAVIT OF SERVICE                                             Christopher G. Scott, Clerk

   Case:
   21EV002534
                      I Court
                        Fulton County State Court State of Georgia
                                                                                                 County:
                                                                                                 Fulton
                                                                                                                                    IJob:
                                                                                                                                     5609433
                                                                                                                                                            Civil Division


   Plaintiff/ Petitioner:                                                                        Defendant/ Respondent
   Lynden Hepburn, And Rhonda Hepburn                                                            Horizon Midwest Inc. Horizon Freight System Inc, Quincy Bernard
                                                                                                 Harvill, And Old Republic Insurance Company
  Received by:                                                                                  For:
  Chilton Gibbs and Associates, LLC                                                             Witherite Law Group, LLC
  To be served upon:
  Old Republic Insurance Company do The Prentice-Hall Corporation System, Registered Agent

 I, Thomas David Gibbs Ill, being duly sworn, depose and say: I am over the age of 18years and not a party to this action, and that within
 the boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said
 person of the contents herein

Recipient Name/ Address:             Alisha Smith, The Prentice-Hall Corporation System: 2 Sun Ct suite 400, Peachtree Comers, GA 30092-2801
Manner of Service:                   Registered Agent, Apr 27, 2021, 12:59 pm EDT
Documents:                           Summons, Complaint for Damages, (Received Apr 26, 2021 at 3:46pm Eon

Additional Comments:
1) Successful Attempt: Apr 27, 2021, 12:59 pm EDT at The Prentice-Hall Corporation System: 2 Sun Ct suite 400, Peachtree Comers, GA
30092-2801 received by Alisha Smith.
CSC Coordinator


                                                                                                  ~ubscribed and swom to before me by the affiant who is
                        )_
                        _                                   ,/                                    personal/y/cno~ to me.
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       asDa~            sm                       Date                      ,,,,,1111,,,,                        --
                                                                    ,,,,, ~MY 4fi'',,, Notary Public
Chilton Gibbs and Associates, LLC                             ;'' ..·····..····•.~'?:fk8/P1                                          12-/1,-:t-/ 'Zoll/
723 Main Street
Stone Mountain, GA 30083
                                                             ..-      •: NO Tl' b
                                                                             ,,,r )-•••          Date
                                                                                                      ,,   ft:6 •        Commission Expires
404-368-3049
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                   Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 101 of 110


                                                IN THE STATE COURT OF FULTON COUNTY

                                                            STATE OF GEORGIA

                                                                                    Administrative Order It;   2f E){ 0 Oooo Z.     ...-.!
                                       IN RE: ORDER FOR APPOINTMENT FOR SERVICE OF PROCESS
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  It appearing that the State Court of Fulton County has read and considered petitions and cri                   'illf     e o
  below, and the some having met certification requirements, this Court hereby allows the sa                     r~CflS\o~( Stat
  proceedings,
                                                                                                                           ~
                                                                                                                         'i/\i'c
  IT IS HEREBY ORDERED that the following persons:
 ABRAHAM, ROBYN L                      ELLIOTT, MAURICE                     KAHSSU, HAILE TANKEY                                   KILLATERlA
 ALLEN.1.AKEITA TYESHA                 FARKAS, BELA                         KIDD, ELIZABETH A.
 ANDERSON, WILUAM JAMES                FAULKENER. DANA VANESSE              KING.AMOS                           SAXON, RASHAD l.
 ANDREWS II., GENE l:DWARD             FAZZIO, DEOREA l.                    KIRKLAND, SHIRLEY PATRICIA          SAXON, ROSIN l.
 AQUIRRE, ANTUI\N SAUL                 FERRERO, AMY LYNN                    KOTLAR, MICHAEL JOHN                SAXON-FORD, VIRGINIA L.
 ARMSTRONG, CHRISTOPHER J.            FISHER, DAWN WALLS                    LAUSMAN, MARSHA CAROLINE            SEKLECKI, CMRISTIAN GANTT
 BAILEY, ANNA MARIE                   FITZGERALD, FlORETTA                  U'.TTS, WllllAM EARL                SHEPHERD, ELIZABETH A.
 BARNfV JR., STEVEN MICHAEL           FOi.OS, CATHERINA PILAR               LEWIS, KEVIN J.                     SIBBALD, JOHN WIWAMS
 BARRON, SHANE WILUS                  FOLDS, GEORGE LARRY                   LOUIS, CLYDE A.                     SINGLETON, WESLEY GENE
 BARRY, PAUL EDWIN                    FORD, RONNIE                          LUTWACK, WII.UAM CIRO               SMITH JR., BRUCE RICHARD
 SASHAM. JAMES STEVEN                 FOX, JUHANI ALLEN                     MAGGARD. ANDREW M.                  SMITH, DELACIE
 BEN1TO. RICHARD DAVID                FREESE, JESSICA RENEE                 MAU.AS, Nl□iOlAS ANDREW             SMITH, RONALD L.
 BOLLING, KATHERINE DEVORE            FULLER, THOMAS WAYNE                  MCCLELLAN, RODNEY J.                SMITH, VIRGINIAELIZABETH CHARLES
 SRAZEMAN, CRAIG PHILIP               GALVIN, ELIZABETH MARY                MCGAHEE, LARRY LOUIS                SNEUINGS, SHARON EIAINE
 BRIDGES, KAYLA DENISE                GAYLE, EARL WINSTON                   MCMILLON, ERICKA DANIEi.LE          SPEARS, JOYE L
 8RIU:V, OONtJtf C..                  GELVIN, TAMMY ANITA                   MITCHELL. KEVIN JOSI:PH             STANTON, CHRISTOPHER SCOTT
 BRYANT, SHEMIKA ROCHHLE              GEORGE, RANDAL LF.t                   MORGAN, TODD VERNELL                STEWART, RONNIE NORRIS
 BUNc.f.l, KIM                        Gl6B5 fl! .. THOMAS DAVID             MORRISON, ZUHI MCEADY               STINYARD, KELVJN
 BYER, EDMOND JOHN                    GILES, Hl;RBERT FREDERICK            MOTT, CYNTHIA                        STONE, ALESIA ANDREA
 CARITHERS, GREGORY ALL(;N            GREEN, ANJEN1\I G.                   MUHAMMAD, AZIZAH                     STONE, RODNEY DAVID
CHILDRESS, CLIFTON                    GREENWAY, KIMBERLY BEHELER           MURPHY JR., GREGORY BERNARD          SWINDLE, FRANK LEE
CLEMMONS, JOYCE YVONNE               GRIMSHAW, SHANE KELLEE                MURRAH, JUANQUALO DEMON             SWINGER. INA LYNN
CLINE, TRAVIS DANIEL                 HANDLEY, WILEY 0.                     NICHOLS, JEAN GRINWJS               TASSAW, BERHANE B.
f.OCMR/INE, 8A8EHE DAWN              HARRIS, PARKS WAYNE                   NICHOLS, tATHAN OTTO                THOMPSON, VANt:SSA
COLUER, WII.LIM\11 MICHAH            HASSAN, MUHSIN SHAHID                 NOLEN, MILTON LEE                   THRASH, NANCY M.
COOY., CHRIS LAMAR                   Hf-SSAN, MUHSIN SHAHID                O'LEARY, CHRISTINE LOUISE           TORT, HENRY
CUNNINGHAM, SALLY K.                 HEIMERICH JR., RICHARD PAUL           PANNELL, NICOLE D.                  TROY, DOUGLAS ADAM
DALMAN, JONA THAN BRADFORD           IIIGHSMITH, AMOS MATTHEW              PANNELL, NICOLE D.                  TURNER, TRAVIS DAVON
OAMBA.:H-CIRKO, PATRIC!/\ JOYC!:     HIGHTOWER, ANTHONIO EDWARD            PARKER, ADAM DEAN                   VEIJI.SQUEZ, JULIUS 0.
DANIELS, SONIA LYNN                  HILL, HOLLIS JEROME                   PARKER,ATARIL                       WALKER WHISBY, KATARA Y.
DI\VENPOlr~. ALTERICI< SHEREFF       HINDSMAN, CHERROO TER-RAY             PERI.SON, MARC DAMON                WASHINGTON, SABRINA ANEATHA
DAVIDSON, DANNY DOUGLAS              HINES, JAMES WILLIAM                  RANSOME. MAURICE                    WATT, ROOSEVELT
DAVIDSON. MllCHELL THOMAS            HORTON, CHRISTOPHER TOOO              RAUSER, JAYNE E.                    WEBBER, MEllNA MARV
DAY. DUANE DAVIDSON                  HUDSON, !-IAKIMAH                     RECKERSOREES, THOMAS NMN            WEEKS, FRANCES MARIAN
                                                                                                                                                    I
DERRICHO JR •• DAVID EMANUEL         HUDSON, KYLE                          REDDICK, DEREK LAMAR                WEST, ERIC NOEL                     ·£
                                                                                                               WILLJAMS, JACK LELAND R.            i
DEVAUGHN, CARL LINTON                HUGULEY,CK ADONNI                     RICHARDSON, lEROY ANTHONY
DOlBIER, JEFFERY ALAN                HUMPHREY, JOVIERA Y.                  RIVERS, MICHAEL THOMAS              WILLIAMS, LAVERN
DREEMAN, DOUGLAS E.                  IRVINE, XAVlEP ANTOINf.               ROBINSON, JEROY                     WINKELMAN, NAN LANGFORD
EARTHRISE, ROCHELLE DENISE           JAMFS, FRI\NK HUGH                    RUDDOCK, MARGARET A.                WOLFE, USE LYNN
ECHOLS, ERIC DWIGHT                  JENKINS, STEPHANIE DENISE             RUTLEDGE, RONALD WILLIAM            WRIGHT, CHRISTOPHER K.
ff~IOI.S, PAffilCIA !ZETTA           JOHNSON, EARLC.                       SADLER JR., JOI-IN THURSTON         ZAYAS, ROBERTO


be appointed and authoriz:P.d to serve
order for appointment in each individual case.
so ORDERED, this      /      day of January, 2021.
                                                              e:··
                                                                     ;-.:~
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                                       as Permanent Process 5f!rvers for the calendar year of 2021, without the necessity of an
                                                                                      (.~- {'...
                                                                                          C r:c~~
                                                                 Chief Judge Susan Edlein, Fulton County State Git'rt
                                                                                                                  State Court of Fulton County
                  Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 102 of 110                                                **E-FILED**
                                                                                                                                   21EV002534
                                                                                                                              5/4/2021 2:56 PM
                                                          AFFIDAVIT OF SERVICE                                     Christopher G. Scott, Clerk

   Case:
   21EV002534
                  I Court
                    Fulton County State Court State of Georgia
                                                                         County:
                                                                         Fulton
                                                                                                         I Job:
                                                                                                           5609433
                                                                                                                                  Civil Division


  Plaintiff/ Petitioner:                                                 Defendant/ Respondent
  Lynden Hepburn, And Rhonda Hepburn                                     Horizon Midwest Inc, Horizon Freight System Inc, Quincy Bernard
                                                                         Harvill, And Old Republic Insurance Company
  Received by:                                                          For:
  Chilton Gibbs and Associates, LLC                                     Witherite Law Group, LLC
  To be served upon:
  Quincy Bernard Harvill; Horizon Freight System Jnc do National Resident Agent Service Inc, Registered Agent; Horizon Midwest Ind do
  Registered Agent National Resident Agent Service, Inc. do Rogers & Cates PC/ David Lee Cates; and Old Republic Insurance Company do
  The Prentice-Hall Corporation System, Registered Agent

 I, Thomas David Gibbs Ill, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within
 the boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said
 person of the contents herein

 Recipient Name I Address:     Unnamed co-resident of Quincy Bernard Harvill, 2515 Martin Cir, Binningham, AL 35235-2138
 Manner of Service:            Substitute Service - Abode, May 2, 2021, 7:06 pm EDT
Documents:                     Summons, Complaint for Damages, Plaintiffs' First Interrogatories, First Request For Production Of
                               Documents, And First Request For Admissions To Defendant Quincy Bernard Harvill (Received Apr 26, 2021 at
                               3:46pm EDTI

Additional Comments:
1) Successful Attempt: May 2, 2021, 7:06 pm EDT at 2515 Martin Cir, Binningham, AL 35235-2138 received by Unnamed co-resident of
Quincy Bernard Harvill. Age: 35-40; Ethnicity: African American; Gender: Female; Weight: 160; Height: 5'6"; Hair: Black; Relationship: co-
resident;
Black female co-resident of the defendant stated that the defendant lived there with her. When presented with the paperwork, she stated
that the defendant lived there. She further stated that there was an Attorney handling this and that he had instructed them not to accept
anything from anyone. I explained to her that the defendant was belng sued and that I could serve him or any other adult living with him.
She refused to take the paperwork or give me her name, I left the paperwork at the door and left the premises. The was a Tractor/Tru ck
parked in the front yard with Horizon Midwest decals on the door.




Thomas David Gibbs Ill

Chilton Gibbs and Associates, LLC
723 Main Street
Stone Mountain, GA 30083
404-368-3049
                    Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 103 of 110


                                                     IN THE STATE COURT OF FULTON COUNTY

                                                                   STATE OF GEORGIA

             \;,,~_,.,.~,/                                                               Administrative Order It:   2/ £t 0000() Z.
         ., , ........ """"" ,,,            IN RE: ORDER FOil APPOINTMENT FOR SERVICE OF PROCESS                            ~

 It appearing that the State Court of Fulton County has read and considered petitions and cri                       · \~      '
 below, and the :mme having met certification requirements, this Court hereby allows the sa                          proces
                                                                                                                    ~~ \\ \ 1
                                                                                                                                             t
 proceedings,

 ff IS HEREBY ORDERED chat the following persons:                                                              ~~--~
 ABRAHAM, ROBVN L                           ELLIOTT, MAURICE                     KAHSSU, HAILE TANKEY .                           KILLA TERIA
 ALLEN, LAKEITA TYESHA                      FARKAS, llELA                        KIDD, ELIZABETH A.
 ANDERSON, WILLIAM JAMES                    FAULKENER, DANA VANESSE              KlNG, AMOS                          SAXON, RASHAD L
 ANDREWS II., GENE EDWARD                   FAZZIO, DEOREA L.                    KIRKLAND, SHIRLEY PATRICIA          SAXON, ROBIN L
 AQUIRRE, ANTUAN SAUL                       FERRERO, AMY l YNN                   KOTLAR, MICHAEL JOHN                SAXON•FORO, VIRGINIA l.
 ARM5TRONG, CHRISTOPHER J.                  FISHER, DAWN WALLS                   lAUSMAN, MARSHA CAROLINE            SEKlECKI, CHRISTIAN GANTT
 BAILEY, ANNA MARIE                        FITZGERALD,FLORETTA                   LETTS, WILLIAM EARL                 SHEPHERD, ELIZABETH A.
 BARNE'!' JR., STEVEN M1Cf-lA€L            FOLDS, CATHERINA PllAfl               LEWIS, KEVIN J.                     SIBBALD, JOHN WIUIAMS
BARRON. SHAN~ WILLIS                       FOLDS.GEORGE LARRY                    LOUIS, CLYDE A.                     SINGLETON, WESLEY GENE
BARRY, PAUL EDWIN                          FORO, RONNIE                          LUTWACK, WU.LIAM CIRO               SMITH JR., BRUCE RICHARD
BASHAM, JAMES STEVEN                       FOX, JUMANI ALLEN                     MAGGARD, ANDREW M.                  SMITH, DELACIE
BENITO, RICHARD DAVID                      FREESE, JESSICA RENEE                 MALLAS, NIOiOl.AS ANDREW            SMITH, RONALD L.
BOUING, t<ArHERlNE DEVORE                  FULLER, THOMAS WAYNE                  MCCLELLAN, RODNEY J.                SMITH, VIRG1NIAELIZABETH CHARLES
BRAZfMAN, CRAIG PHILIP                     GALVIN, ELIZABETH MARV               MCGAHEE, LARRY LOUIS                 SNEUINGS, SHARON ELAINE
SRIOGES, KAYL'\ DENISE                     GAYLE, EARL WINSTON                  MCMILLON, ERICKA DANIEi.LE           SPEARS, JOYE L
BRILEY. 0ONtJlf C                          GELVIM, TAMMY ANITA                  MITCHELi., KEVIN JOSEPH              STANTON, CHRISTOPHER SCOTT
BRYANT, SHEMIKA ROCHELLE                   GEORGE, RANDAL LF.f                  MORGAN, TODD VERNl:ll.               STEWART. RONNIE NORRIS
BUNCH, KIM                                 GIBBS UL, THOMAS DAVID               MORRISON, ZlJRI MCEADY               STINYARD, KELVIN
SYER, EDMOND JOHN                          GJLES, HERBERT FREOERtCIC            MOTT, CYNTHIA                        .STONE, AL£SIA ANDREA
CARITHERS, GREGORY ALLEN                   GREEN, ANJENAI G.                    MUHAMMAD, AZIZAH                     STONE, ROONEY DAVID
CHILDRESS, CUFTON                          GREENWAY, KIMBERLY BEHELER           MURPHY JR., GREGORY BERNARD          SWINDLE, FRANK LEE
CLEMMONS, JOYCE YVONNE                     GRIMSHAW, SHANE KELLEE               MURRAH, JUANQUALO DEMON              SWINGER, INA LYNN
CUNE, TRAVIS DANIEL                        HANOI.EV, WILEY D.                   NICHOLS, JEAN GRINWIS                TASSAW. 8ERHAN.E 8.
COCHRANE, aA8EHE DAWN                      HARRIS, PARKS WAYNE                  NICHOLS, LATHAN OTTO                 THOMP~ON, VANESSA
COLLIER, Wll.ll~M Mlf.HAH                  HASSAN, MUHStN SHAHID                NOLEN, MllTON LEE                    THRASH, NANCY M,
COOK, CHRIS LAMAR                          HAS.SAN, MUHSfN SHAHID               O'LEARY, CHRISTINE LOUISE            TORT, HENRY
                                           flEIMERtCH JR., RICHARD PAUL         PANNELL, NICOlE 0.                   TROV, DOUGlAS ADAM
CUNNINGHAM, SALLY K.
DALMAN, JONATHAN BRADFORD                  !IIGHSMITH, AMOS MATTHEW             PANNELL, NICOLE 0.                  TURNER, TRAVIS DAVON

DAMBA.CH-CIRKO, PATRICIA JOYCE             HIGHTOWER, ANTHONIO EDWARD           PARKER, ADAM DEAN                   VELASQUEZ, JULIUS 0,
DANIELS, SONJA LYNN                        HILL, HOLLIS JEROME                  PARKER, ATARI L                     WALKER WHISBY. KA.TARA V.
DN.iENPORT. ALTERIO( SHEREFF               HINDSMAN, CHERROO TER·RAY            PERlSoN, MARC DAMON                 WASHINGTON, SABRINA ANEATHA
DAVIDSON, DANNY DOUGLAS                    HINES, JAMES Wlll.lAM                RANSOME, MAURICE                    WATT, ROOSEVELT
DAVIDSON, MITCHELL Tl-lOMAS                HORTON, CHRISTOPHER TODD             RAUSER, JAYNE E.                    WEBBER, MEI.INA MARY
OAY. OUANf DAVIDSON                       HUDSON, HAKIMAH                       RECKERSDREES, THOMAS NMN            WEF.KS, FRANCES MARIAN
l)ERRltHO JR., OAVIO EMANUEL              HUDSON, KYLE                          REDDICK, DEREK LAMAR                WEST, ERIC NOEL
DEVAUGHN, CARL LINTON                     HUGULF.Y,Ck ADONNr                    RfCHARDSOIII, tEROV ANTHONY         WILLIAMS, JACK LELAND R.
                                          HUMPHREY, JOVIERAV.                   RIVERS, MICHAEL THOMAS              WILLIAMS, LAVERN
DOLBlfR, JEFFERY ALAN
DREEMAN, DOUGLAS E.                       IRVINE, )(AVIEP ANTOINE               ROBINSON, JEROY                     WINKELMAN, NAN LANGt:ORO
EARTHRISE, ROCliELLE DENISE               JAMfS, FRANK HUGH                     RUDDOCK, MARGARET A.                WOLFE, LISE LVNN
                                          JENKINS, 5TEPHANIE DENISE             RUTLEDGE, RONALD WILLIAM            WRIGHT, CHRISTOPHER K.
ECHOLS. ERIC OWtGHT
r:CHOLS, PATRICIA !ZETTA                  JOtiNSON, EARLC.                      SADlER JR., JOHN THURSTON           2AYAS, ROBERTO




order for appointment in each individual case.                            <--     k
be appointed ;ind authorized ta serve as Permanent Process Servers for the calendar year of 2021, without the necessity of an


                                                                          >»~ c f:60,              (--
SO ORDERED, this /                 day ofJanuary, 2021.
                                                                      Chief Judge Susan Edlein, Fulton County State &t'rt
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EXHIBIT “2”
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                          IN THE STATE COURT OF FULTON COUNTY
                                    STATE OF GEORGIA

LYNDEN HEPBURN and
RHONDA HEPBURN,

                   Plaintiffs,
                                                       CIVIL ACTION
v.
                                                       FILE NO. 21EV002534
HORIZON MIDWEST, INC.,
HORIZON FREIGHT SYSTEM, INC.,
QUINCY BERNARD HARVILL, and
OLD REPUBLIC INSURANCE CO.,

                   Defendants.


                     NOTICE OF FILING REMOVAL TO FEDERAL COURT

         COME NOW Defendants Horizon Midwest, Inc., Horizon Freight System, Inc., Quincy

Bernard Harvill, and Old Republic Insurance Company (collectively, “Defendants”), by and

through their undersigned counsel of record, without submitting themselves to the jurisdiction or

venue of this Court and, pursuant to 28 U.S.C. § 1446(d), file this Notice of Removal to Federal

Court, with a copy of the Notice of Removal attached hereto as Exhibit A. Pursuant to 28 U.S.C.

§ 1332, Defendants have removed this matter to the United States District Court for the Northern

District of Georgia, Atlanta Division, on the basis of diversity jurisdiction, and they have provided

a copy of this filing to Plaintiffs through counsel. Accordingly, and pursuant to 28 U.S.C. §

1446(d), Defendants respectfully request that this Court not proceed in the instant civil action

unless and until the same is remanded.

         Respectfully submitted this 26th day of May, 2021.




                                 (SIGNATURE TO FOLLOW ON NEXT PAGE)




4813-8342-6281.1
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                                   LEWIS BRISBOIS BISGAARD & SMITH LLP

                                   /s/ Kyle A. Ference
                                   WM. DANIEL FLOYD
                                   Georgia Bar No. 153031
                                   KYLE A. FERENCE
                                   Georgia Bar No. 683043

                                   Counsel for Defendants

600 Peachtree Street, NE
Suite 4700
Atlanta, Georgia 30308
404.476.2001 – Telephone
404.467.8845 – Facsimile
Daniel.Floyd@lewisbrisbois.com
Kyle.Ference@lewisbrisbois.com




                                   2 of 3
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                              CERTIFICATE OF SERVICE


       This is to certify that we have this day filed the within and foregoing NOTICE OF

FILING REMOVAL TO FEDERAL COURT with the Clerk of Court using Odyssey E-File

and served a copy upon all counsel of record by U.S. Mail, with proper postage, addressed as

follows:

                                   J. Martin Futrell
                             WITHERITE LAW GROUP, LLC
                        600 West Peachtree Street NW, Suite 740
                                  Atlanta, GA 30308
                      MARTIN.FUTRELL@WITHERITELAW.COM

                                    Counsel for Plaintiff

       Submitted this 26th day of May, 2021.

                                          LEWIS BRISBOIS BISGAARD & SMITH LLP

                                          /s/ Kyle A. Ference
                                          WM. DANIEL FLOYD
                                          Georgia Bar No. 153031
                                          KYLE A. FERENCE
                                          Georgia Bar No. 683043

                                          Counsel for Defendants
600 Peachtree Street, NE
Suite 4700
Atlanta, Georgia 30308
404.476.2001 – Telephone
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Daniel.Floyd@lewisbrisbois.com
Kyle.Ference@lewisbrisbois.com




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EXHIBIT “3”
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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

LYNDEN HEPBURN and
RHONDA HEPBURN,                                CIVIL ACTION NO.:

                   Plaintiffs,

v.

HORIZON MIDWEST, INC.,                         Removed from the State Court of
HORIZON FREIGHT SYSTEM, INC.,                  DeKalb County, Georgia, Civil
QUINCY BERNARD HARVILL, and                    Action File No. 21A00551
OLD REPUBLIC INSURANCE CO.,

                   Defendants.


                                     AFFIDAVIT

STATE OF GEORGIA                 :

COUNTY OF FULTON :

          Before me, the undersigned officer, duly authorized to administer oaths,

personally appeared Kyle A. Ference who, being duly sworn according to law, did

depose and state that he is counsel of record for Defendants Horizon Midwest, Inc.,

Horizon Freight System, Inc., Quincy Bernard Harvill, and Old Republic Insurance

Company, and, as such, is authorized to make this Affidavit and, further, that the

facts set form in the foregoing Notice of Removal are true and correct to the best of

his knowledge, information, and belief.



4848-8750-5129.1
       Case 1:21-cv-02202-JPB Document 1-1 Filed 05/26/21 Page 110 of 110




          Respectfully submitted this 26 th day of May, 2021.

                                                LEWIS BRISBOIS BISGAARD &
                                                SMITH LLP




                                                KYLE A. FERENCE
                                                Georgia Bar No.: 683043

     600 Peachtree Street, NE                Counsel for Defendants
     Suite 4700
---- Atlanta, Georgia 30308------------------------------------------------
     404.348.8585 - Telephone
     404.467-8845 - Facsimile
     Kvle.Ference@lewisbrisbois.com



    Sworn to and subscribed before me this
       day of May, 2021.



    Notary Public

                                                  expires   \
                                           :   I GEORGIA 1
                                               1 DEC 11.2024
    My commission expires:




                                               2 of 2
